Filed 05/14/18                                                               Case 18-22152                                                                             Doc 115

                                                          UNITED STATES BANKRUPTCY COURT
                                                          EASTERN DISTRICT OF CALIFORNIA




   In re: Caffe Ettore Incorporated, a California corporation                     Case No.                       18-22152-B-li


                                                                                  CHAPTER 11
                                                                                  MONTHLY OPERATING REPORT
                                                                                  (GENERAL BUSINESS CASE)


                                                           SUMMARY OF FINANCIAL STATUS

           MONTH ENDED:                  Apr-18                                 PETITION DATE:                     04/10/18

   I.      Debtor in possession (or trustee) hereby submits this Monthly Operating Report on the Accrual Basis of accounting (or if checked here
           the Office of the U.S. Trustee or the Court has approved the Cash Basis of Accounting for the Debtor).
           Dollars reported in      $1
                                                                                   End of Current                End of Prior                     As of Petition
   2.      Asset and Liability Structure                                                Month                       Month                             Filing
           a. Current Assets                                                                   $400,867
           b. Total Assets                                                                   $1,736,577                                                 $1,763,027
           c. Current Liabilities                                                              £460,428
           d. Total Liabilities                                                              $6,591,358                                                 $6,130,930
                                                                                                                                                   Cumulative
   3.      Statement of Cash Receipts & Disbursements for Month                    Current Month                 Prior Month                      (Case to Date)
           a. Total Receipts                                                                   $667,799                                                   $667,799
           b. Total Disbursements                                                              $520,551                                                   $520,551
           c. Excess (Deficiency) of Receipts Over Disbursements (a - b)                       $147,248                         $0                        $147,248
           d. Cash Balance Beginning of Month                                                           $0                                                        $0
           e. Cash Balance End of Month (c + d)                                                $147,248                         $0                        $147,248
                                                                                                                                                   Cumulative
                                                                                   Current Month                 Prior Month                      (Case to Date!
   4.      Profit/(Loss) from the Statement of Operations                                          $39,201                                                   $39,201
   5.      Account Receivables (Pre and Post Petition)                                         $151,559
   6.      Post-Petition Liabilities                                                           $460,428
   7.      Past Due Post-Petition Account Payables (over 30 days)                                       $0


   At the end of this reporting month:                                                                                Yes                               No
   8.      Have any payments been made on pre-petition debt, other than payments in the normal                                                X
           course to secured creditors or lessors? (if yes, attach listing including date of
           payment, amount of payment and name of payee)
   9.      Have any payments been made to professionals? (if yes, attach listing including date of                                            X
           payment, amount of payment and name of payee)
   10.     If the answer is yes to 8 or 9, were all such payments approved by the court?                     X
   11.     Have any payments been made to officers, insiders, shareholders, relatives? (if yes,              X
           attach listing including date of payment, amount and reason for payment, and name of payee)
   12.     Is the estate insured for replacement cost of assets and for general liability?                   X
   13.     Are a plan and disclosure statement on file?                                                                                       X
   1 4.    Was there any post-petition borrowing during this reporting period?                                                                X

   15.     Check if paid: Post-petition taxes     X ;                   U.S. Trustee Quarterly Fees _X       ; Check if filing is current for: Post-petition
           tax reporting and tax returns:         X   .
           (Attach explanation, if post-petition taxes or U.S. Trustee Quarterly Fees are not paid current or if post-petition tax
           reporting and tax return filings are not current.)



   I declare under penalty of perjury I have reviewed the above summary and attached financial statements, and aftpnnaking reasonable inquiry
   believe these documents are correct.
                                                                                               1



   Date:
                                                                                Responsible Individual

                                                                                                                                                    Revised 3/15/99
  Filed 05/14/18                                                                Case 18-22152                                                                    Doc 11
                                                                STATEMENT OF OPERATIONS
                                                                   (General Business Case)
                                                                    For the Month Ended              04/30/18


                      Current Month
                                                                                                                         Cumulative         Next Month
     Actual               Forecast              Variance                                                                (Case to Date)       Forecast
                                                                       Revenues:
       $635,413                                    $635,413        1    Gross Sales                                            $635,413           $898,000
                                                         $0        2    less: Sales Returns & Allowances
       $635,413                      $0            $635,413        3    Net Sales                                              $635,413           $898,000
       $184,322                                   ($184,322)       4    less: Cost of Goods Sold       (Schedule 'B')          $184,322           $224,500
       $451,091                      $0            $451,091        5    Gross Profit                                           $451,091           $673,500
                                                         $0        6    Interest
                                                         $0        7    Other Income:
                                                         $0        8
                                                         $0        9

       $451,091                      $0            $451,091       10      Total Revenues                                       $451,091           $673,500

                                                                       Expenses:
        $12,000                                    ($12,000)      11    Compensation to Owner(s)/Officer(s)                     $12,000            $13,000
       $196,619                                   ($196,619)      12    Salaries                                               $196,619           $375,000
                                                         $0       13    Commissions
                                                         $0       14    Contract Labor
                                                                        Rent/Lease:
                                                          $0      15       Personal Property
         $43,928                                    ($43,928)     16       Real Property                                        $43,928            $57,000
                                                          $0      17    Insurance                                                                  $17,100
                                                          $0      18    Management Fees
                                                          $0      19    Depreciation
                                                                        Taxes:
         $16,759                                    ($16,759)     20       Employer Payroll Taxes                               $16,759            $35,000
                                                          $0      21       Real Property Taxes                                                      $1,500
         $33,646                                    ($33,646)     22       Other Taxes                                          $33,646            $28,000
                                                          $0      23    Other Selling
         $12,476                                    ($12,476)     24    Other Administrative                                    $12,476            $31,000
         $16,503                                    ($16,503)     25    Interest                                                $16,503            $21,000
                                                          $0      26    Other Expenses:
         $50,015                                    ($50,015)     27   Premises Expenses                                        $50,015            $34,250
         $13,929                                    ($13,929)     28   Utilities                                                $13,929            $21,000
          $4,872                                     ($4,872)     29   Office/Computer                                           $4,872             $6,000
          $8,221                                     ($8,221)     30   Auto                                                      $8,221             $7,150
          $2,922                                     ($2,922)     31   Adv                                                       $2,922             $3,000
                                                          $0      32
                                                          $0      33
                                                          $0      34

       $411,890                      $0           ($411,890)      35      Total Expenses                                       $411,890           $650,000

         $39,201                     $0             $39,201       36 Subtotal                                                   $39,201            $23,500

                                                                     Reorganization Items:
                                                           $0     37 Professional Fees
                                                           $0     38 Provisions for Rejected Executory Contracts
                                                           $0     39 Interest Earned on Accumulated Cash from
                                                                      Resulting Chp 11 Case
                                                           $0     40 Gain or (Loss) from Sale of Equipment
                                                           $0     41 U.S. Trustee Quarterly Fees
                                                           $0     42

              $0                     $0                    $0     43       Total Reorganization Items                                $0                     $0

         $39,201                     $0             $39,201       44 Net Profit (Loss) Before Federal & State Taxes             $39,201            $23,500
                                                         $0       45 Federal & State Income Taxes

         $39,201                     $0             $39,201       46 Net Profit (Loss)                                          $39,201            $23,500

Attach an Explanation of Variance to Statement of Operations (For variances greater than +/- 10% only):

                                                                                                                                          Revised 3/15/99
Filed 05/14/18                                                   Case 18-22152                                                                Doc 11
                                                         BALANCE SHEET
                                                       (General Business Case)
                                                      For the Month Ended            04/30/18


      Assets
                                                                                 From Schedules                 Market Value
          Current Assets

  1            Cash and cash equivalents - unrestricted                                  B                                  $20,744
  2            Cash and cash equivalents - restricted
  3            Accounts receivable (net)                                                 B                                 $151,559
  4            Inventory                                                                 B                                 $220,970
  5            Prepaid expenses                                                                                              $7,594
  6            Professional retainers
  7            Other:
  8

  9                    Total Current Assets                                                                                $400,867

          Property and Equipment (Market Value)

 10            Real property                                                             C                                       $0
 11            Machinery and equipment                                                   D                                 $503,672
 12            Furniture and fixtures                                                    D                                       $0
 13            Office equipment                                                          D                                  $61,428
 14            Leasehold improvements                                                    D                                 $530,000
 15            Vehicles                                                                  D                                  $92,900
 16            Other:              Investment                                            D                                  $36,000
 17                                Intangible/Intellectual                               D                                  $20,001
 18                                Deposits & Prepayments                                D                                  $49,082
 19                                Employee Advance                                      D                                   $1,045
 20                                                                                      D

 21                    Total Property and Equipment                                                                      $1,294,128

          Other Assets

 22            Loans to shareholders                                                                                             $0
 23            Loans to affiliates                                                                                               $0
 24            Lease Deposits                                                                                               $38,082
 25            Utility Deposits                                                                                              $3,500
 26
 27
 28                    Total Other Assets                                                                                   $41,582

 29                    Total Assets                                                                                      $1,736,577

      NOTE:
               Indicate the method used to estimate the market value of assets (e.g., appraisals; familiarity with comparable market
               prices, etc.) and the date the value was determined.




                                                                                                                            Revised 3/15/99
Filed 05/14/18                                                     Case 18-22152                                       Doc 11
                                                     Liabilities and Equity
                                                     (General Business Case)


      Liabilities From Schedules

           Post-Petition

                Current Liabilities

 30                      Salaries and wages                                                         $145,344
 31                      Payroll taxes                                                               $50,523
 32                      Real and personal property taxes
 33                      Income taxes
 34                      Sales taxes                                                                 $33,646
 35                      Notes payable (short term)
 36                      Accounts payable (trade)                                        A           $35,922
 37                      Real property lease arrearage
 38                      Personal property lease arrearage
 39                      Accrued professional fees
 40                      Current portion of long-term post-petition debt (due within 12 months)
 41                      Other:      Gift Certificates                                              $113,628
 42                                  Cake Deposits                                                   $81,365
 43

 44                      Total Current Liabilities                                                  $460,428

 45             Long-Term Post-Petition Debt, Net of Current Portion

 46                      Total Post-Petition Liabilities                                            $460,428

           Pre-Petition Liabilities (allowed amount)

 47                      Secured claims                                                  D        $4,877,477
 48                      Priority unsecured claims                                       E                $0
 49                      General unsecured claims                                        F        $1,253,453

 50                      Total Pre-Petition Liabilities                                           $6,130,930

 51                      Total Liabilities                                                        $6,591,358

      Equity (Deficit)

 52             Retained Earnings/(Deficit) at time of filing                                     ($4,367,902)
 53             Capital Stock                                                                       $114,720
 54             Additional paid-in capital
 55             Cumulative profit/(loss) since filing of case                                       ($80,859)
 56             Post-petition contributions/(distributions) or (draws)                               $10,500
 57
 58             Market value adjustment

 59                      Total Equity (Deficit)                                                   ($4,323,541)

 60 Total Liabilities and Equity (Deficit)                                                        $2,267,817




                                                                                                     Revised 3/15/99
 Filed 05/14/18                                                     Case 18-22152                                                                  Doc 11

                                             SCHEDULES TO THE BALANCE SHEET
                                                             (General Business Case)

                                                                    Schedule A
                                                    Accounts Receivable and (Net) Payable

                                                                            Accounts Receivable    Accounts Payable                 Past Due
Receivables and Payables Agings                                            [Pre and Post Petition]  [Post Petition]            Post Petition Debt
  0 -30 Days                                                                              $96,935           $35,922                                  0
  31-60 Days                                                                              $53,184                 $0                                 0
  61-90 Days                                                                               $2,724                 $0                               $0
  91+ Days                                                                                  ($284)                $0
  Total accounts receivable/payable                                                      $152,559           $35,922
  Allowance for doubtful accounts                                                          $1,000
  Accounts receivable (net)                                                              $151,559


                                                                   Schedule B
                                                           Inventory/Cost of Goods Sold
Types and Amount of Inventory(ies)                                        Cost of Goods Sold
                                              Inventory(ies)
                                                Balance at
                                              End of Month                Inventory Beginning of Month                                          219400
                                                                          Add -
   Retail/Restaurants -                                                    Net purchase                                                    $185,892
   Inventory                                                 $27,684       Direct labor
   Paper                                                      $8,364       Manufacturing overhead
                                                                           Freight in
   Distribution -                                                          Other:
   Merch for Resale                                            $3,829

   Manufacturer -
    Raw Materials                                           $106,615      Less -
    Work-in-progress                                         $55,697       Inventory End of Month                                          $220,970
    Finished goods                                                         Shrinkage
                                                                           Personal Use
   Other -Paper Goods                                        $18,781
                                                                          Cost of Goods Sold                                               $184,322

     TOTAL                                                  $220,970

   Method of Inventory Control                                            Inventory Valuation Methods
   Do you have a functioning perpetual inventory system?                  Indicate by a checkmark method of inventory used.
              Yes X         No
   How often do you take a complete physical inventory?                   Valuation methods -
                                                                            FIFO cost                                   X
    Weekly                                                                  LIFO cost
    Monthly                X                                                Lower of cost or market
    Quarterly                                                               Retail method
    Semi-annually                                                           Other
    Annually                                                                 Explain
Date of last physical inventory was                  4/30/2018 0:00

Date of next physical inventory is                   5/31/2018 0:00




                                                                                                                              Revised 3/15/99
 Filed 05/14/18                                                 Case 18-22152                                 Doc 11
                                                            Schedule C
                                                           Real Property

Description                                                                     Cost        Market Value
     N/A




     Total                                                                             $0                     $0


                                                           Schedule D
                                                     Other Depreciable Assets

Description                                                                     Cost        Market Value
Machinery & Equipment -
     Machinery, Fixtures & Equipment - Production Facility                                             $37,165
     Machinery, Fixtures & Equipment - Fair Oaks Café                                                  $19,400
     Machinery, Fixtures & Equipment - Hitachi Lease                                                  $106,266
     Machinery, Fixtures & Equipment - IFS Lease                                                       $95,762
     Machinery, Fixtures & Equipment - First Foundation Lease                                          $82,103
     Machinery, Fixtures & Equipment - PNC Lease                                                      $153,829
     POS System                                                                                         $9,147
     Total                                                                             $0             $503,672

Furniture & Fixtures -
     See Machinery & Equipment / Office Equipment.




     Total                                                                             $0                     $0

Office Equipment -
     Office Furniture & Supplies                                                                         $5,000
     IT & Electronic Equipment                                                                          $52,428
     Lanier MP Copier/Printers                                                                           $3,000
     Copier/Printers                                                                                     $1,000
     Total                                                                             $0               $61,428

Leasehold Improvements -
     Tenant Improvements - Roseville Café                                                             $250,000
     Tenant Improvements - Production Facility                                                        $280,000


     Total                                                                             $0             $530,000

Vehicles -
     2015 Mercedes Benz Refrigerated Sprinter                                                           $14,000
     2016 KIA Soul                                                                                       $8,000
     2016 Isuzu Refrigerated Box Truck                                                                  $27,000
     2005 Scion                                                                                          $1,800
     2005 Scion                                                                                          $1,600
     2007 Isuzu Box Truck                                                                               $14,500
     2007 Dodge Refrigerated Sprinter Van                                                                $3,000
     2016 Jeep Grand Cherokee                                                                           $23,000
     Total                                                                             $0               $92,900
                                                                                            Revised 3/15/99
 Filed 05/14/18                                                    Case 18-22152                                                               Doc 11
                                                               Schedule E
                                                      Aging of Post-Petition Taxes
                                              (As of End of the Current Reporting Period)

Taxes Payable                                      0-30 Days          31-60 Days         61-90 Days         91+ Days              Total
Federal
      Income Tax Withholding                            $13,731                                                                    $13,731
      FICA - Employee                                   $14,485                                                                    $14,485
      FICA - Employer                                   $14,485                                                                    $14,485
      Unemployment (FUTA)                                 $386                                                                       $386
      Income                                                                                                                            $0
      Other (Attach List)                                                                                                               $0
Total Federal Taxes                                     $43,087                   $0                $0               $0            $43,087
State and Local
      Income Tax Withholding                             $3,369                                                                     $3,369
      Unemployment (UT)                                  $2,124                                                                     $2,124
      Disability Insurance (DI)                          $1,878                                                                     $1,878
      Empl. Training Tax (ETT)                              $64                                                                        $64
      Sales                                             $25,736                                                                    $25,736
      Excise                                                                                                                            $0
      Real property                                                                                                                     $0
      Personal property                                                                                                                 $0
      Income                                                                                                                            $0
      Other (Attach List)                                                                                                               $0
Total State & Local Taxes                               $33,171                   $0                $0               $0            $33,171
Total Taxes                                             $76,258                   $0                $0               $0            $76,258



                                                               Schedule F
                                                          Pre-Petition Liabilities

                                                                                           Claimed          Allowed
List Total Claims For Each Classification -                                                Amount          Amount (b)
      Secured claims (a)                                                                   $4,877,477
      Priority claims other than taxes                                                             $0
      Priority tax claims                                                                          $0
      General unsecured claims                                                             $1,253,453

      (a)   List total amount of claims even it under secured.
      (b)   Estimated amount of claim to be allowed after compromise or litigation. As an example, you are a defendant in a lawsuit
            alleging damage of $10,000,000 and a proof of claim is filed in that amount. You believe that you can settle the case for a
            claim of $3,000,000. For Schedule F reporting purposes you should list $10,000,000 as the Claimed Amount and
            $3,000,000 as the Allowed Amount.
                                                               Schedule G
                                                      Rental Income Information
                                                Not applicable to General Business Cases

                                                               Schedule H
                                             Recapitulation of Funds Held at End of Month

                                                  Account 1           Account 2         Account 3     Account 4                Account 5
Bank                                           Five Star Bank      Five Star Bank    Five Star Bank American River           American River
Account Type                                   Checking            Checking          Money Market Checking                   Checking
Account No.                                                8493                8485             2051         7173                     7180
Account Purpose                                General             Payroll           Savings         General                 Payroll
Balance, End of Month                                   $3,131             ($16,661)            $22       $24,652                      $0
Total Funds on Hand for all Accounts                   $11,144

Attach copies of the month end bank statement(s), reconciliation(s), and the check register(s) to the Monthly Operating Report.

                                                                                                                             Revised 3/15/99
 Filed 05/14/18                                                   Case 18-22152                                                      Doc 11


                                  STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS
                                                Increase/(Decrease) in Cash and Cash Equivalents
                                                      For the Month Ended     04/30/18

                                                                                                 Actual             Cumulative
                                                                                             Current Month         (Case to Date)
     Cash Receipts
1          Rent/Leases Collected
2          Cash Received from Sales                                                                 $650,900                $650,900
3          Interest Received
4          Borrowings
5          Funds from Shareholders, Partners, or Other Insiders
6          Capital Contributions
7          Cake Deposits                                                                             $16,899                     $16,899
8
9
10
11

12               Total Cash Receipts                                                                $667,799                $667,799

     Cash Disbursements
13         Payments for Inventory
14         Selling                                                                                   $10,095                     $10,095
15         Administrative                                                                            $36,077                     $36,077
16         Capital Expenditures
17         Principal Payments on Debt                                                                   $963                       $963
18         Interest Paid                                                                                 $98                        $98
           Rent/Lease:
19               Personal Property                                                                   $12,921                     $12,921
20               Real Property                                                                       $40,478                     $40,478
           Amount Paid to Owner(s)/Officer(s)
21               Salaries                                                                              $462                         $462
22               Draws                                                                               $10,500                     $10,500
23               Commissions/Royalties
24               Expense Reimbursements
25               Other                                                                               $30,564                 $30,564
26         Salaries/Commissions (less employee withholding)                                         $146,616                $146,616
27         Management Fees
           Taxes:
28               Employee Withholding                                                                $30,962                     $30,962
29               Employer Payroll Taxes                                                              $16,759                     $16,759
30               Real Property Taxes
31               Other Taxes                                                                         $33,646                     $33,646
32         Other Cash Outflows:
33               Cash to Suppliers                                                                  $149,709                $149,709
34               Refund of Cake Deposit                                                                 $701                    $701
35
36
37

38               Total Cash Disbursements:                                                          $520,551                $520,551

39 Net Increase (Decrease) in Cash                                                                  $147,248                $147,248

40 Cash Balance, Beginning of Period

41 Cash Balance, End of Period                                                                      $147,248                $147,248



                                                                                                               Revised 3/15/99
    Filed 05/14/18                                                             Case 18-22152                                                          Doc 11

                                                            STATEMENT OF CASH FLOWS
                                                (Optional) Increase/(Decrease) in Cash and Cash Equivalents
                                                                    For the Month Ended 04/30/18

                                                                                                           Actual             Cumulative
     Cash Flows From Operating Activities                                                               Current Month        (Case to Date)
1         Cash Received from Sales                                                                             $650,900                $650,900
2         Rent/Leases Collected                                                                                 $16,899                 $16,899
3         Interest Received                                                                                          $0                      $0
4         Cash Paid to Suppliers                                                                               $149,709                $149,709
5         Cash Paid for Selling Expenses                                                                        $10,095                 $10,095
6         Cash Paid for Administrative Expenses                                                                 $36,077                 $36,077
          Cash Paid for Rents/Leases:
7              Personal Property                                                                                $12,921                 $12,921
8              Real Property                                                                                    $40,478                 $40,478
9         Cash Paid for Interest                                                                                    $98                     $98
10        Cash Paid for Net Payroll and Benefits                                                               $177,180                $177,180
          Cash Paid to Owner(s)/Officer(s)
11             Salaries                                                                                           $462                    $462
12             Draws                                                                                            $10,500                 $10,500
13             Commissions/Royalties                                                                                 $0                      $0
14             Expense Reimbursements                                                                                $0                      $0
15             Other
          Cash Paid for Taxes Paid/Deposited to Tax Acct.
16             Employer Payroll Tax                                                                             $16,759                 $16,759
17             Employee Withholdings                                                                            $30,962                 $30,962
18             Real Property Taxes
19             Other Taxes - Sales                                                                              $33,646                 $33,646
20        Cash Paid for General Expenses
21             Refund of WC Deposit                                                                                $701                       $701
22
23
24
25
26

27            Net Cash Provided (Used) by Operating Activities before Reorganization Items                     $148,211                $148,211

     Cash Flows From Reorganization Items

28        Interest Received on Cash Accumulated Due to Chp 11 Case
29        Professional Fees Paid for Services in Connection with Chp 11 Case
30        U.S. Trustee Quarterly Fees
31

32            Net Cash Provided (Used) by Reorganization Items                                                          $0                      $0

33 Net Cash Provided (Used) for Operating Activities and Reorganization Items                                  $148,211                $148,211

     Cash Flows From Investing Activities

34        Capital Expenditures
35        Proceeds from Sales of Capital Goods due to Chp 11 Case
36

37            Net Cash Provided (Used) by Investing Activities                                                          $0                      $0

     Cash Flows From Financing Activities
38        Net Borrowings (Except Insiders)
39        Net Borrowings from Shareholders, Partners, or Other Insiders
40        Capital Contributions
41        Principal Payments                                                                                       $963                       $963
42

43            Net Cash Provided (Used) by Financing Activities                                                    ($963)                  ($963)

44 Net Increase (Decrease) in Cash and Cash Equivalents                                                        $147,248                $147,248

45 Cash and Cash Equivalents at Beginning of Month

46 Cash and Cash Equivalents at End of Month                                                                   $147,248                $147,248

                                                                                                                                    Revised 3/15/99
Filed 05/14/18                            Case 18-22152                                    Doc 115




                 Caffe Ettore Inc                         Date   4/30/18     Page    1
                 Payroll Account                          Account Number   @XXXXXXXX@3
                 2376 Fair Oaks Blvd                      Enclosures               334
                 Sacramento CA 95825




               Use Five Star Bank's mobile banking app on your smart device to
             check your balance or transaction history, deposit checks, activate
                     your debit card, and more! Call (916) 626-5012 to enroll.


        Business Checking                       Number of Enclosures               334
        Account Number            @XXXXXXXX@3   Statement Dates 4/01/18 thru   4/30/18
        Previous Balance             7,977.10   Days in the statement period        30
           15 Deposits/Credits     424,000.00   Average Ledger                  10,232
          345 Checks/Debits        377,919.81   Average Collected                3,398
            4 Electronic DR         48,619.16
        Service Charge                    .00
        Interest Paid                     .00
        Ending Balance               5,438.13
         ______________________________________________________________________________
        |                                                  |            |              |
        |                                                  |   Total For|         Total|
        |                                                  | This Period| Year-to-Date|
        |__________________________________________________|____________|______________|
        |                                                  |            |              |
        |Total Overdraft Fees                              |        $.00|       $350.00|
        |__________________________________________________|____________|______________|
        |                                                  |            |              |
        |Total Return Item Fees                            |     $175.00|       $175.00|
        |__________________________________________________|____________|______________|
        Deposits and Additions                                 Amount
        Date      Description
         4/06     Xfer from General                         20,000.00
         4/06     Xfer from General                         40,000.00
         4/09     Xfer from General                         30,000.00
         4/09     Xfer from General                         65,000.00
         4/10     Xfer from General                         35,000.00
         4/11     Xfer from General                         10,000.00
         4/13     Xfer from General                         10,000.00
         4/16     Xfer from General                          8,500.00
         4/18     Telephone
                      p     Transfer                         4,000.00
                      3208485D-
                      3208         3208493D
                                    3208
         4/19     Xfer from General                          1,500.00
         4/20     Xfer from General                          5,000.00
         4/20     Xfer from General                         50,000.00
         4/24     REGULAR DEPOSIT                           75,000.00
         4/25     REGULAR DEPOSIT                           40,000.00
         4/27     REGULAR DEPOSIT                           30,000.00
Filed 05/14/18                            Case 18-22152                                   Doc 115




                                                           Date   4/30/18     Page    2
                                                           Account Number   @XXXXXXXX@3
                                                           Enclosures               334



        Business Checking                @XXXXXXXX@3     (Continued)
        Checks and Withdrawals
        Date      Description                                    Amount
         4/04     QUICKBOOKS INTUIT PAYROLL S                    197.91
                  1722616679        04/04/18
                  TRACE #-021000027229779
                  680331447
         4/04     QUICKBOOKS INTUIT PAYROLL S                    579.90
                  1722616679        04/04/18
                  TRACE #-021000027229780
                  680331447
         4/06     FORCE PAY DEBIT                              2,051.65
         4/09     PMT IMPND TAX SERVICE 702                   57,034.00
                  1411902914        04/06/18
                  TRACE #-111000029214400
                  84882-019015281
         4/13     NSF RETURNED ITEM(S) CHARGE                    175.00
         4/18     FORCE PAY DEBIT                                304.92
         4/18     FORCE PAY DEBIT                                545.22
         4/18     FORCE PAY DEBIT                              1,385.25
         4/18     FORCE PAY DEBIT                              1,763.35
         4/19     FORCE PAY DEBIT                                817.39
         4/20     FORCE PAY DEBIT                              2,051.77
         4/20     PMT IMPND TAX SERVICE 702                   47,721.35
                  1411902914        04/20/18
                  TRACE #-111000029983834
                  84882-019040990
         4/24     FORCE PAY DEBIT                              1,162.76
         4/24     FORCE PAY DEBIT                              2,279.80
         4/26     QUICKBOOKS INTUIT PAYROLL S                    120.00
                  1722616679        04/26/18
                  TRACE #-021000029607448
                  680331447
        Checks in Serial Number Order
        Date    Check No                Amount   Date     Check No              Amount
         4/09        102                761.49    4/09         115            1,981.71
         4/10        103                920.07    4/09         116            1,656.30
         4/09        104              1,431.91    4/13         117            1,069.30
         4/10        105              1,833.25    4/10         118              734.55
         4/09        106              1,552.45    4/10         119            1,581.63
         4/11        107                914.50    4/09         120            1,157.55
         4/09        108              1,108.58    4/25         122*           1,112.31
         4/16        109              1,237.56    4/09         123            1,234.85
         4/09        110              5,052.87    4/11         124            1,318.62
         4/27        111              1,254.31    4/13         125              771.14
         4/10        112              1,160.63    4/16         126            1,528.97
         4/09        114*             1,545.35    4/09         127            1,368.10
Filed 05/14/18                            Case 18-22152                                   Doc 115




                                                           Date   4/30/18     Page    3
                                                           Account Number   @XXXXXXXX@3
                                                           Enclosures               334



        Business Checking                @XXXXXXXX@3     (Continued)
        Checks in Serial Number Order
        Date    Check No                Amount   Date     Check No              Amount
         4/09        128                862.86    4/10         180              954.85
         4/09        130*               894.74    4/30         181              174.81
         4/10        131              1,019.48    4/09         182              419.61
         4/09        132                769.57    4/09         183            1,171.94
         4/09        134*               983.50    4/10         184            1,123.15
         4/09        135              1,275.22    4/11         185            1,044.20
         4/10        136              1,365.89    4/10         186              861.17
         4/09        137              1,282.95    4/09         187              663.29
         4/09        138                712.27    4/09         188              566.82
         4/09        139                548.80    4/09         189            1,157.33
         4/09        140              1,069.55    4/09         190            2,125.39
         4/09        141              1,255.28    4/16         191            1,424.17
         4/09        142              1,049.20    4/09         192              999.01
         4/09        143              1,094.27    4/09         193            1,245.01
         4/11        144              1,102.41    4/09         194            1,090.94
         4/09        145              1,067.97    4/09         195              599.29
         4/09        146              1,633.48    4/09         197*             818.44
         4/16        147                921.76    4/11         198              562.53
         4/09        148              1,327.25    4/09         199            1,461.80
         4/09        149              1,908.53    4/10         200              738.52
         4/10        151*             1,640.85    4/09         201              711.08
         4/09        153*             1,194.31    4/10         202            1,044.78
         4/09        154                757.31    4/10         203            1,110.93
         4/10        155                926.69    4/10         204              403.30
         4/09        156              2,670.01    4/09         205              842.05
         4/10        157              1,000.06    4/09         206              770.53
         4/09        159*             1,214.73    4/09         207            1,034.88
         4/06        160              1,033.66    4/09         208              869.56
         4/09        161              1,339.76    4/09         209            1,268.08
         4/09        163*               514.19    4/09         210              913.67
         4/25        164              1,014.38    4/10         211              801.24
         4/10        165              1,141.30    4/13         212              575.00
         4/10        166              1,051.94    4/09         213            1,653.61
         4/09        167                730.77    4/09         214              844.26
         4/09        168                707.70    4/10         215            1,410.26
         4/11        169              1,489.33    4/10         216            1,193.10
         4/09        170              1,054.96    4/09         217              531.26
         4/09        171                681.13    4/06         218              879.80
         4/09        172              1,410.35    4/09         219            1,128.54
         4/10        174*             1,363.64    4/10         220              684.75
         4/09        175                739.51    4/09         221            1,566.59
         4/16        176                720.85    4/11         222              964.67
         4/11        177              1,002.98    4/09         223            1,023.08
         4/10        178                855.09    4/16         224            1,050.18
         4/09        179                609.40    4/09         225              848.83
Filed 05/14/18                            Case 18-22152                                   Doc 115




                                                           Date   4/30/18     Page    4
                                                           Account Number   @XXXXXXXX@3
                                                           Enclosures               334



        Business Checking                @XXXXXXXX@3     (Continued)
        Checks in Serial Number Order
        Date    Check No                Amount   Date     Check No              Amount
         4/09        226                472.30    4/24         279*             369.29
         4/11        227                787.03    4/25         280              461.75
         4/09        228              1,106.53    4/25         281              899.47
         4/09        229              1,758.36    4/25         282              816.35
         4/09        230              1,148.86    4/24         283            1,431.90
         4/10        231              1,009.29    4/24         284            1,833.24
         4/09        232                889.40    4/24         285            1,086.74
         4/10        234*               632.79    4/27         286              852.18
         4/06        235                899.19    4/30         287              958.71
         4/09        236                533.52    4/24         288            1,909.26
         4/10        237                859.24    4/27         289            1,254.30
         4/09        238                631.15    4/26         290            1,160.64
         4/10        239                657.92    4/24         292*           1,648.14
         4/09        241*               885.80    4/25         293            1,430.77
         4/09        243*               160.88    4/26         294            1,037.07
         4/09        244              1,429.33    4/25         295              783.29
         4/10        245                384.52    4/25         296              715.72
         4/10        246                549.29    4/25         297            1,581.63
         4/10        247                993.86    4/24         301*           1,292.90
         4/10        248              1,295.14    4/26         303*             692.52
         4/10        249                277.75    4/24         304              788.37
         4/09        250                254.52    4/24         305            1,368.11
         4/10        251                559.01    4/24         306            1,042.93
         4/16        252                872.74    4/24         307              675.73
         4/09        253              1,155.38    4/27         308            1,183.56
         4/10        254                 64.40    4/24         309              664.01
         4/09        255              1,116.65    4/24         311*             787.40
         4/23        257*               554.01    4/24         312              971.92
         4/09        258                284.72    4/24         313            1,113.43
         4/10        259                193.78    4/25         314              362.69
         4/09        260                431.28    4/24         315              398.57
         4/11        261                396.76    4/27         316            1,143.60
         4/10        262                539.02    4/24         317              994.90
         4/11        263                573.24    4/25         318            1,646.95
         4/10        265*               197.59    4/24         319            1,492.89
         4/12        266                213.75    4/27         320              883.74
         4/09        267                941.54    4/24         321              666.66
         4/13        268                409.70    4/24         322              936.46
         4/13        269                302.39    4/27         323              798.21
         4/16        271*               136.95    4/26         324            1,143.76
         4/16        272                179.13    4/24         325            1,403.24
         4/27        274*             1,116.08    4/25         327*           1,308.34
         4/30        275                684.82    4/24         329*           1,194.30
         4/24        276                279.74    4/30         330              615.89
         4/24        277                398.35    4/26         331              967.62
Filed 05/14/18                            Case 18-22152                                   Doc 115




                                                           Date   4/30/18     Page    5
                                                           Account Number   @XXXXXXXX@3
                                                           Enclosures               334



        Business Checking                @XXXXXXXX@3     (Continued)
        Checks in Serial Number Order
        Date    Check No                Amount   Date     Check No              Amount
         4/25        332              2,670.01    4/24         380              823.03
         4/24        333              1,277.04    4/24         381            1,653.59
         4/24        334                846.86    4/24         382              860.96
         4/23        335              1,296.03    4/25         383            1,099.62
         4/24        336              1,261.38    4/25         384              813.53
         4/30        337                689.47    4/24         385              707.21
         4/24        338                455.62    4/25         386              621.25
         4/25        339                601.37    4/24         387            1,352.51
         4/26        340                938.55    4/26         388            1,087.37
         4/27        341                776.42    4/24         389            1,092.78
         4/25        342                671.57    4/25         390              833.92
         4/24        343                706.94    4/23         391              780.60
         4/24        344                705.76    4/26         392              385.82
         4/24        345              1,198.65    4/26         393              658.10
         4/24        346              1,189.75    4/24         394              926.79
         4/27        348*               882.49    4/24         395            1,223.64
         4/26        349                619.93    4/30         396            1,297.29
         4/24        350                620.43    4/25         397            1,153.74
         4/23        351                971.92    4/25         398              776.96
         4/26        352                 83.63    4/23         400*             870.86
         4/25        353                437.50    4/23         401              482.43
         4/24        354              1,036.26    4/25         402              683.96
         4/25        355                839.86    4/24         403              938.45
         4/26        357*               989.79    4/24         404              771.82
         4/30        358                526.32    4/25         405              993.39
         4/24        359                525.42    4/25         406              859.40
         4/30        360                844.33    4/25         407              749.19
         4/30        362*               937.53    4/24         408            1,429.32
         4/24        363              1,043.32    4/24         411*             819.60
         4/24        364              1,166.16    4/25         412            1,135.37
         4/24        365                969.01    4/26         414*             912.67
         4/24        366                646.44    4/26         415              961.43
         4/30        367                663.48    4/25         416              366.52
         4/25        368                815.53    4/24         417              562.15
         4/24        369              1,478.18    4/24         419*              98.44
         4/24        370                705.51    4/25         420              453.97
         4/24        371                950.10    4/25         421              175.89
         4/24        372              1,000.60    4/26         422              598.64
         4/26        373                974.79    4/24         423              848.45
         4/25        374                734.11    4/26         424              888.11
         4/24        375                638.87    4/24         425              973.09
         4/24        376                906.32    4/27         426              246.26
         4/27        377                660.33    4/26         427              599.86
         4/24        378                827.88    4/24         429*             403.31
         4/24        379                845.03    4/25         430              312.43
Filed 05/14/18                              Case 18-22152                                  Doc 115




                                                            Date   4/30/18     Page    6
                                                            Account Number   @XXXXXXXX@3
                                                            Enclosures               334



        Business Checking                @XXXXXXXX@3     (Continued)
        Checks in Serial Number Order
        Date    Check No                Amount   Date       Check No             Amount
         4/30        431                296.52    4/02         23045*            844.61
         4/25        432                277.22    4/03         23049*            411.55
         4/30        434*               213.75    4/04         23053*            652.00
         4/26        435              1,378.29    4/16         23055*            835.81
         4/24        436              1,667.51    4/25         23066*            848.33
         4/26        440*               292.68    4/03         23071*            910.38
         4/30        444*                73.55    4/09         23072             576.37
         4/30        447*               627.29    4/16         23094*          1,042.50
         4/30        448                660.68    4/10         23100*          1,008.62
         4/30        449                270.46    4/10         23105*            387.78
         4/27        450              2,670.01    4/04         23117*            311.82
         4/27        451              2,977.13    4/03         23118             359.70
         4/13      22497*               141.11    4/03         23119             536.27
         4/02      22873*                45.32    4/12         23120             192.04
         4/09      22891*             1,280.31    4/09         23122*            554.18
         4/13      22942*             1,763.57    4/04         23123           1,566.77
         4/16      22958*               753.47    4/23         23124             169.08
         4/16      23003*             1,129.23    4/20         23125              91.32
         4/10      23019*                60.52    4/26         23126              91.32
         4/13      23033*             1,763.56    4/26         23127              94.83

        Daily Balance Information
        Date          Balance       Date           Balance          Date        Balance
         4/01        7,977.10        4/11           767.96           4/23        752.58
         4/02        7,087.17        4/12           362.17           4/24      9,407.36
         4/03        4,869.27        4/13         3,391.40           4/25     18,349.07
         4/04        1,560.87        4/16            58.08           4/26      1,671.65
         4/06       56,696.57        4/18            59.34           4/27     14,973.03
         4/09        2,515.87        4/19           741.95           4/30      5,438.13
         4/10          924.23        4/20         5,877.51
Filed   05/14/18
  3:34 PM                                                             Case 18-22152                                                                Doc 115
  05/11/18
  Accrual Basis

              Type           Date                     Name                            Memo                  Debit           Credit        Balance
     Five Star Bank - General                                                                                                             (45,345.81)
        Transfer          04/10/2018                                   Funds Transfer                                         35,000.00    (80,345.81)
        Transfer          04/10/2018                                   On Deck                                                   10.00     (80,355.81)
        Sales Receipt     04/10/2018 RSVL DAILY SALES                  Square One Dep to Five Star             7,359.85                    (72,995.96)
        Sales Receipt     04/10/2018 RSVL DAILY SALES                  Cash deposited to Five Star Bank        2,052.64                    (70,943.32)
        Sales Receipt     04/10/2018 FO DAILY SALES                    Square One Dep to Five Star            10,359.27                    (60,584.05)
        Sales Receipt     04/10/2018 FO DAILY SALES                    Cash deposited to Five Star Bank        2,510.57                    (58,073.48)
        Check             04/11/2018 Marque Foods, LLC                 VOID:                                                               (58,073.48)
        Sales Receipt     04/11/2018 FO DAILY SALES                    Square One Dep to Five Star              615.28                     (57,458.20)
        Check             04/11/2018 PNC                                                                                       7,708.95    (65,167.15)
        Transfer          04/11/2018                                   Funds Transfer                                         10,000.00    (75,167.15)
        Sales Receipt     04/11/2018 RSVL DAILY SALES                  Square One Dep to Five Star             7,431.77                    (67,735.38)
        Sales Receipt     04/11/2018 RSVL DAILY SALES                  Cash deposited to Five Star Bank        1,405.41                    (66,329.97)
        Sales Receipt     04/11/2018 FO DAILY SALES                    Square One Dep to Five Star            12,781.24                    (53,548.73)
        Sales Receipt     04/11/2018 FO DAILY SALES                    Cash deposited to Five Star Bank        1,968.62                    (51,580.11)
        Bill Pmt -Check   04/12/2018 FL. Electric Service Company                                                               622.50     (52,202.61)
        Check             04/12/2018 First Foundation                                                                          3,860.59    (56,063.20)
        Sales Receipt     04/12/2018 FO DAILY SALES                    Square One Dep to Five Star             1,831.65                    (54,231.55)
        Deposit           04/12/2018 Temple Coffee                     Deposit                                23,052.79                    (31,178.76)
        Sales Receipt     04/12/2018 RSVL DAILY SALES                  Cash deposited to Five Star Bank        1,125.40                    (30,053.36)
        Sales Receipt     04/12/2018 FO DAILY SALES                    Cash deposited to Five Star Bank        1,968.30                    (28,085.06)
        Deposit           04/13/2018                                   Nugget Deposit                         32,936.18                      4,851.12
        Sales Receipt     04/13/2018 FO DAILY SALES                    Square One Dep to Five Star             2,385.41                      7,236.53
        Check             04/13/2018 Five Star Bank                    Bank Chg                                                  35.00       7,201.53
        Deposit           04/13/2018                                   Deposit                                  400.54                       7,602.07
        Sales Receipt     04/13/2018 FO DAILY SALES                    Cash deposited to Five Star Bank         500.00                       8,102.07
        Transfer          04/13/2018                                   Funds Transfer                                         10,000.00     (1,897.93)
        Transfer          04/16/2018                                   Funds Transfer                                          8,500.00    (10,397.93)
        Check             04/17/2018                                   Transfer to Five Star                   5,000.00                     (5,397.93)
        Transfer          04/17/2018                                   Funds Transfer                                          4,000.00     (9,397.93)
        Check             04/18/2018                                                                          10,000.00                       602.07
        Transfer          04/18/2018                                   Funds Transfer                                          1,500.00       (897.93)
        Check             04/19/2018 Marque Foods, LLC                 VOID:                                                                  (897.93)
        Check             04/19/2018 JBS                                                                                       4,558.65     (5,456.58)
        Check             04/19/2018 Mercedes-Benz Financial Svcs USA LLC                                                      1,031.00     (6,487.58)
        Sales Receipt     04/19/2018 FO DAILY SALES                    Cash deposited to Five Star Bank        1,453.00                     (5,034.58)
        Deposit           04/19/2018                                   Wholesale Deposit                       6,153.19                      1,118.61
        Check             04/19/2018 Caffe Ettore, Inc.                                                       55,000.00                     56,118.61
        Check             04/19/2018 POS Portal, Inc.                                                                           487.59      55,631.02
        Payment           04/19/2018 VSP                                                                        140.00                      55,771.02
        Check             04/20/2018 Petty Cash                                                                                1,000.00     54,771.02
        Transfer          04/20/2018                                   Funds Transfer                                         50,000.00      4,771.02
        Transfer          04/20/2018                                   Funds Transfer                                          5,000.00       (228.98)
        Sales Receipt     04/25/2018 FO DAILY SALES                    Cash deposited to Five Star Bank        1,338.00                      1,109.02
        Payment           04/26/2018 Nordstrom-Galleria                                                          80.89                       1,189.91
        Deposit           04/30/2018 Nordstrom-Galleria                Deposit                                  103.99                       1,293.90
        Deposit           04/30/2018                                   Wholesale Deposit                       1,721.62                      3,015.52
        Payment           04/30/2018 Nordstrom-Galleria                                                         135.03                       3,150.55
        Check             04/30/2018                                                                                             20.04       3,130.51
     Total Five Star Bank - General                                                                         191,810.64      143,334.32      3,130.51


  TOTAL                                                                                                   191,810.64      143,334.32      3,130.51




                                                                                                                                                 Page 1 of 1
Filed 05/14/18                            Case 18-22152                                    Doc 115




                 Caffe Ettore Inc                         Date   4/30/18     Page    1
                 General Account                          Account Number   @XXXXXXXX@5
                 2376 Fair Oaks Blvd                      Enclosures               102
                 Sacramento CA 95825




               Use Five Star Bank's mobile banking app on your smart device to
             check your balance or transaction history, deposit checks, activate
                     your debit card, and more! Call (916) 626-5012 to enroll.


        Business Checking                       Number of Enclosures               102
        Account Number            @XXXXXXXX@5   Statement Dates 4/01/18 thru   4/30/18
        Previous Balance            88,977.32   Days in the statement period        30
           89 Deposits/Credits     634,913.55   Average Ledger                  54,137
          109 Checks/Debits        369,041.04   Average Collected               47,704
           33 Electronic DR        352,567.54
        Service Charge                    .00
        Interest Paid                     .00
        Ending Balance               2,282.29
         ______________________________________________________________________________
        |                                                  |            |              |
        |                                                  |   Total For|         Total|
        |                                                  | This Period| Year-to-Date|
        |__________________________________________________|____________|______________|
        |                                                  |            |              |
        |Total Overdraft Fees                              |      $35.00|        $35.00|
        |__________________________________________________|____________|______________|
        |                                                  |            |              |
        |Total Return Item Fees                            |        $.00|          $.00|
        |__________________________________________________|____________|______________|
        Deposits and Additions                                 Amount
        Date      Description
         4/02     180402P2   Square Inc                        333.58
                  9424300002        04/02/18
                  TRACE #-021000028041316
                  L207345306549
         4/02     180402P2   Square Inc                        338.80
                  9424300002        04/02/18
                  TRACE #-021000028041315
                  L207345306548
         4/02     180402P2   Square Inc                      9,448.61
                  9424300002        04/02/18
                  TRACE #-021000027965253
                  L204267013012
         4/02     180402P2   Square Inc                     13,012.88
                  9424300002        04/02/18
                  TRACE #-021000027965254
                  L204267013013
Filed 05/14/18                            Case 18-22152                                  Doc 115




                                                          Date   4/30/18     Page    2
                                                          Account Number   @XXXXXXXX@5
                                                          Enclosures               102



        Business Checking                @XXXXXXXX@5   (Continued)
        Deposits and Additions                                 Amount
        Date      Description
         4/02     0402 ETSAC Square Inc                     14,722.48
                  9424318002        04/02/18
                  TRACE #-021000027596910
                  L201268041164
         4/02     180402P2   Square Inc                     15,709.49
                  9424300002        04/02/18
                  TRACE #-021000027965255
                  L204267013014
         4/02     0402 ETSAC Square Inc                     18,614.75
                  9424318002        04/02/18
                  TRACE #-021000027596911
                  L201268041165
         4/02     0402 ETSAC Square Inc                     20,232.83
                  9424318002        04/02/18
                  TRACE #-021000027596912
                  L201268041166
         4/02     REGULAR DEPOSIT                            4,086.05
         4/02     REGULAR DEPOSIT                            4,556.56
         4/02     REGULAR DEPOSIT                            5,236.47
         4/03     180403P2   Square Inc                     11,758.67
                  9424300002        04/03/18
                  TRACE #-021000023664384
                  L204267069860
         4/03     0403 ETSAC Square Inc                     14,299.77
                  9424318002        04/03/18
                  TRACE #-021000023551951
                  L201268075007
         4/03     DEPOSIT CORRECTION                             3.42
         4/03     REGULAR DEPOSIT                              333.20
         4/03     REGULAR DEPOSIT                              387.00
         4/03     REGULAR DEPOSIT                            1,481.40
         4/03     REGULAR DEPOSIT                            1,524.53
         4/03     REGULAR DEPOSIT                            1,763.31
         4/03     REGULAR DEPOSIT                            2,003.22
         4/04     Payment    Hitachi Capital                 4,666.16
                  1411934689        04/02/18
                  TRACE #-071000288038812
                  040-3280200-001
                  TRACE #-071000288038812
                  040-3280200-001
         4/04     180404P2   Square Inc                      2,374.25
                  9424300002        04/04/18
                  TRACE #-021000020340232
                  L207345753521
         4/04     180404P2   Square Inc                      4,688.54
                  9424300002        04/04/18
Filed 05/14/18                            Case 18-22152                                  Doc 115




                                                          Date   4/30/18     Page    3
                                                          Account Number   @XXXXXXXX@5
                                                          Enclosures               102



        Business Checking                @XXXXXXXX@5   (Continued)
        Deposits and Additions                                 Amount
        Date      Description
                  TRACE #-021000020302519
                  L204267105050
         4/04     0404 ETSAC Square Inc                      8,461.86
                  9424318002        04/04/18
                  TRACE #-021000020132310
                  L201268119376
         4/04     REMOTE DEPOSIT                             2,317.71
         4/04     REGULAR DEPOSIT                            2,311.11
         4/04     REGULAR DEPOSIT                            2,715.30
         4/05     180405P2   Square Inc                      1,347.99
                  9424300002        04/05/18
                  TRACE #-021000026887616
                  L207345959596
         4/05     180405P2   Square Inc                      5,907.09
                  9424300002        04/05/18
                  TRACE #-021000026855595
                  L204267151032
         4/05     0405 ETSAC Square Inc                      8,197.59
                  9424318002        04/05/18
                  TRACE #-021000026683033
                  L201268164979
         4/05     REMOTE DEPOSIT                            85,000.00
         4/06     180406P2   Square Inc                      1,791.52
                  9424300002        04/06/18
                  TRACE #-021000026979740
                  L207346303927
         4/06     180406P2   Square Inc                      5,905.93
                  9424300002        04/06/18
                  TRACE #-021000026938592
                  L204267196550
         4/06     0406 ETSAC Square Inc                     10,034.18
                  9424318002        04/06/18
                  TRACE #-021000026929425
                  L201268210552
         4/06     PAYMENT    NUGGET MARKET IN               26,204.45
                  4941675108        04/06/18
                  TRACE #-091000013959693
         4/06     DEPOSIT CORRECTION                             2.00
         4/06     REGULAR DEPOSIT                            1,403.85
         4/06     REGULAR DEPOSIT                            1,871.50
         4/06     REGULAR DEPOSIT                            1,915.90
         4/06     REGULAR DEPOSIT                            2,524.88
         4/06     REGULAR DEPOSIT                            2,817.76
         4/09     180409P2   Square Inc                        848.59
                  9424300002        04/09/18
Filed 05/14/18                            Case 18-22152                                  Doc 115




                                                          Date   4/30/18     Page    4
                                                          Account Number   @XXXXXXXX@5
                                                          Enclosures               102



        Business Checking                @XXXXXXXX@5   (Continued)
        Deposits and Additions                                 Amount
        Date      Description
                  TRACE #-021000025496426
                  L207346847235
         4/09     180409P2   Square Inc                      1,714.50
                  9424300002        04/09/18
                  TRACE #-021000025496427
                  L207346847236
         4/09     180409P2   Square Inc                      6,623.87
                  9424300002        04/09/18
                  TRACE #-021000025427988
                  L204267289082
         4/09     180409P2   Square Inc                      7,569.14
                  9424300002        04/09/18
                  TRACE #-021000025427989
                  L204267289083
         4/09     0409 ETSAC Square Inc                     10,218.89
                  9424318002        04/09/18
                  TRACE #-021000024875347
                  L201268318684
         4/09     180409P2   Square Inc                     10,775.13
                  9424300002        04/09/18
                  TRACE #-021000025427990
                  L204267289084
         4/09     0409 ETSAC Square Inc                     11,979.41
                  9424318002        04/09/18
                  TRACE #-021000024875348
                  L201268318685
         4/09     0409 ETSAC Square Inc                     13,725.91
                  9424318002        04/09/18
                  TRACE #-021000024875349
                  L201268318686
         4/09     REMOTE DEPOSIT                               425.76
         4/09     REGULAR DEPOSIT                            1,462.47
         4/09     REGULAR DEPOSIT                            1,582.83
         4/09     REGULAR DEPOSIT                            2,869.06
         4/09     REGULAR DEPOSIT                            3,626.19
         4/09     REGULAR DEPOSIT                            3,726.53
         4/09     REGULAR DEPOSIT                            4,859.49
         4/10     180410P2   Square Inc                      8,777.82
                  9424300002        04/10/18
                  TRACE #-021000025310738
                  L204267354579
         4/10     0410 ETSAC Square Inc                     11,991.67
                  9424318002        04/10/18
                  TRACE #-021000025178801
                  L201268369122
Filed 05/14/18                            Case 18-22152                                  Doc 115




                                                          Date   4/30/18     Page    5
                                                          Account Number   @XXXXXXXX@5
                                                          Enclosures               102



        Business Checking                @XXXXXXXX@5   (Continued)
        Deposits and Additions                                 Amount
        Date      Description
         4/11     180411P2   Square Inc                        615.28
                  9424300002        04/11/18
                  TRACE #-021000022994524
                  L207347369874
         4/11     180411P2   Square Inc                      6,257.32
                  9424300002        04/11/18
                  TRACE #-021000022955683
                  L204267398621
         4/11     0411 ETSAC Square Inc                      8,985.09
                  9424318002        04/11/18
                  TRACE #-021000022790236
                  L201268413596
         4/11     DEPOSIT CORRECTION                              .01
         4/11     REGULAR DEPOSIT                            1,795.87
         4/11     REGULAR DEPOSIT                            2,052.64
         4/11     REGULAR DEPOSIT                            2,510.57
         4/11     REGULAR DEPOSIT                            2,541.86
         4/12     180412P2   Square Inc                      1,831.65
                  9424300002        04/12/18
                  TRACE #-021000023651574
                  L207347602805
         4/12     180412P2   Square Inc                      7,526.13
                  9424300002        04/12/18
                  TRACE #-021000023611753
                  L204267444582
         4/12     0412 ETSAC Square Inc                     10,381.12
                  9424318002        04/12/18
                  TRACE #-021000023434484
                  L201268458870
         4/12     REMOTE DEPOSIT                            23,052.79
         4/13     180413P2   Square Inc                      2,385.41
                  9424300002        04/13/18
                  TRACE #-021000023718495
                  L207347886272
         4/13     180413P2   Square Inc                      7,431.77
                  9424300002        04/13/18
                  TRACE #-021000023684937
                  L204267490215
         4/13     0413 ETSAC Square Inc                     12,753.62
                  9424318002        04/13/18
                  TRACE #-021000023498146
                  L201268504561
         4/13     PAYMENT    NUGGET MARKET IN               32,936.18
                  4941675108        04/13/18
                  TRACE #-091000014785472
         4/13     DEPOSIT CORRECTION                                 .02
Filed 05/14/18                            Case 18-22152                                  Doc 115




                                                          Date   4/30/18     Page    6
                                                          Account Number   @XXXXXXXX@5
                                                          Enclosures               102



        Business Checking                @XXXXXXXX@5   (Continued)
        Deposits and Additions                                 Amount
        Date      Description
         4/13     REMOTE DEPOSIT                               900.54
         4/13     REGULAR DEPOSIT                            1,125.40
         4/13     REGULAR DEPOSIT                            1,405.41
         4/13     REGULAR DEPOSIT                            1,968.30
         4/13     REGULAR DEPOSIT                            1,968.62
         4/17     REMOTE DEPOSIT                             5,000.00
         4/18     REMOTE DEPOSIT                            10,000.00
         4/19     VSP ADMIN VSP ADMIN PYMT                     140.00
                  P941632821        04/19/18
                  TRACE #-122000491181601
         4/19     REMOTE DEPOSIT                            61,153.19
         4/19     REGULAR DEPOSIT                            1,453.00
         4/25     REGULAR DEPOSIT                            1,338.00
         4/26     NORD ACH   NORDSTROM INC                      80.89
                  2910515058        04/26/18
                  TRACE #-111000026837803
                  111105098
         4/27     NORD ACH   NORDSTROM INC                     103.99
                  2910515058        04/27/18
                  TRACE #-111000028104673
                  111105470
         4/30     NORD ACH   NORDSTROM INC                     135.03
                  2910515058        04/30/18
                  TRACE #-111000025509090
                  111105849
        Checks and Withdrawals
        Date      Description                                  Amount
         4/02     Xfer to Personal                          10,500.00
         4/02     PAYMENT    CHRYSLER CAPITAL                  475.29
                  9191691407        04/02/18
                  TRACE #-021000025523295
                  5781249
         4/02     180402P2   Square Inc                        575.00
                  9424300002        04/02/18
                  TRACE #-021000028139951
                  L210345101696
         4/02     ONLINE PMT OFFICE DEPOT                      994.62
                  CITICCSWEB        04/02/18
                  TRACE #-091409685388177
         4/02     INSURANCE FIRST INSURANCE                  1,794.63
                  2363437365        04/02/18
                  TRACE #-071925336919858
         4/03     ACH - AR   ASCENTIS CORP                   3,773.82
                  C911630801        04/03/18
Filed 05/14/18                            Case 18-22152                                  Doc 115




                                                          Date   4/30/18     Page    7
                                                          Account Number   @XXXXXXXX@5
                                                          Enclosures               102



        Business Checking                @XXXXXXXX@5   (Continued)
        Checks and Withdrawals
        Date      Description                                  Amount
                  TRACE #-121143263470477
                  SI-057250
         4/03     COMM UTLTY CITY OF ROSEVLLE                4,601.12
                  0000063576        04/03/18
                  TRACE #-021000023217800
                  2112828
         4/03     Payment    Hitachi Capital                 4,666.16
                  1411934689        04/02/18
                  TRACE #-071000288038812
                  040-3280200-001
                  TRACE #-071000288038812
                  040-3280200-001
         4/05     WEB_PAY    SMUD                               48.14
                  2946001157        04/05/18
                  TRACE #-111000020418569
         4/05     ACH DEBIT CHALLENGE DAIRY                  1,788.81
                  6953081035        04/05/18
                  TRACE #-111000020844006
         4/05     ACH DEBIT CHALLENGE DAIRY                  2,320.77
                  6953081035        04/05/18
                  TRACE #-111000020844013
         4/05     WEB_PAY    SMUD                            3,379.74
                  2946001157        04/05/18
                  TRACE #-111000020418568
         4/05     WEB_PAY    SMUD                            4,482.58
                  2946001157        04/05/18
                  TRACE #-111000020418570
         4/05     ACH DEBIT CHALLENGE DAIRY                 13,064.85
                  6953081035        04/05/18
                  TRACE #-111000020844020
         4/06     Xfer to Payroll                           20,000.00
         4/06     Xfer to Payroll                           40,000.00
         4/06     DEPOSIT CORRECTION                              .10
         4/09     Xfer to Payroll                           30,000.00
         4/09     Xfer to Payroll                           65,000.00
         4/09     LOAN PAYMENT 922518694                     1,241.25
                  LOAN PYMNT 922518694
         4/09     LN PMT 31806876                            2,750.00
                  LN PMT 31806876
         4/09     LN PYMT 32514057                           3,349.77
                  LN PYMT 32514057
         4/09     LN PAYMENT 932517910                      12,493.65
                  LN PAYMENT 932517910
         4/09     LN PAYMENT 932517902                      18,740.47
                  LN PAYMENT 932517902
         4/09     DEPOSIT CORRECTION                                 .15
Filed 05/14/18                            Case 18-22152                                   Doc 115




                                                           Date   4/30/18     Page    8
                                                           Account Number   @XXXXXXXX@5
                                                           Enclosures               102



        Business Checking                @XXXXXXXX@5     (Continued)
        Checks and Withdrawals
        Date      Description                                    Amount
         4/10     Xfer to Payroll                             35,000.00
         4/10     27419604   ON DECK CAPITAL                      10.00
                  2472360202        04/10/18
                  TRACE #-071001737797570
                  27419604
         4/10     INVESTMENT AMERICAN FUNDS                    3,847.78
                  1954797716        04/10/18
                  TRACE #-091000013148946
                  BRK132186180406
         4/10     INVESTMENT AMERICAN FUNDS                    4,156.10
                  1954797716        04/10/18
                  TRACE #-091000013148947
                  BRK132186180406
         4/11     Xfer to Payroll                             10,000.00
         4/11     DEPOSIT CORRECTION                                .05
         4/11     LEASE PMT PNC                                7,708.95
                  311109151         04/11/18
                  TRACE #-041000124024010
                        203049000
         4/12     LEASE PYMT FIRSTFOUND                        3,860.59
                  1320211527        04/12/18
                  TRACE #-122287580000031
                  CT-BUND40199637
         4/13     FORCE PAY DEBIT                             85,000.00
         4/13     NSF PAID ITEM(S) CHARGE                         35.00
         4/13     Xfer to Payroll                             10,000.00
         4/16     Xfer to Payroll                              8,500.00
         4/18     Telephone
                      p     Transfer                           4,000.00
                      3208485D-
                      3208         3208493D
                                   3208
         4/19     Xfer to Payroll                              1,500.00
         4/19     Auto Pay   MBFS.COM                          1,031.00
                  1850860002        04/19/18
                  TRACE #-021000024738639
                  5000020094
         4/20     Xfer to Payroll                              5,000.00
         4/20     Xfer to Payroll                             50,000.00
         4/20     10813729   POS PORTAL INC                      487.59
                  1680448387        04/20/18
                  TRACE #-091408592478771
                  41826
        Checks in Serial Number Order
        Date    Check No                Amount   Date     Check No              Amount
         4/02      19540              1,927.78    4/02       19876*              66.18
         4/05      19826*               780.00    4/02       19881*           1,750.00
Filed 05/14/18                            Case 18-22152                                   Doc 115




                                                           Date   4/30/18     Page    9
                                                           Account Number   @XXXXXXXX@5
                                                           Enclosures               102



        Business Checking                @XXXXXXXX@5     (Continued)
        Checks in Serial Number Order
        Date    Check No                Amount   Date     Check No              Amount
         4/03      19887*                87.75    4/06       19943              820.20
         4/05      19889*             2,677.00    4/11       19944            2,864.00
         4/04      19893*                72.50    4/09       19945            5,573.87
         4/02      19894              6,000.00    4/06       19946               80.00
         4/12      19895                821.16    4/06       19947              435.00
         4/03      19896                860.59    4/02       19948           11,051.01
         4/02      19897              3,060.21    4/09       19950*           1,500.00
         4/05      19898              2,314.93    4/05       19951              842.20
         4/04      19900*             9,646.23    4/16       19952              400.00
         4/03      19901             10,000.00    4/09       19953              688.26
         4/13      19902             12,778.00    4/05       19954              365.00
         4/03      19904*               350.00    4/06       19955            4,792.78
         4/06      19905              4,352.45    4/06       19956              420.00
         4/04      19906              1,691.52    4/12       19957            4,419.00
         4/10      19909*             4,162.61    4/12       19958              820.00
         4/09      19910              1,079.62    4/06       19959            2,289.88
         4/05      19911                317.31    4/09       19960            1,005.00
         4/05      19912              1,107.64    4/09       19961            1,259.94
         4/10      19913              1,177.46    4/11       19962              250.00
         4/09      19916*               155.15    4/06       19963              281.25
         4/05      19917                565.40    4/05       19964              572.18
         4/06      19918              1,406.58    4/06       19965            3,623.57
         4/09      19919              1,700.00    4/06       19966            2,270.15
         4/20      19920                374.14    4/06       19967              592.00
         4/19      19921                480.00    4/02       19969*             114.65
         4/10      19922                 90.29    4/04       19970              124.86
         4/06      19923                334.85    4/04       19971              330.80
         4/11      19924                516.46    4/02       19973*           2,443.00
         4/09      19925                 75.20    4/05       19974              855.00
         4/04      19926              7,508.41    4/03       19975            8,181.88
         4/05      19927              2,000.00    4/03       19976           10,432.55
         4/06      19928                293.88    4/04       19977            7,963.78
         4/05      19929              1,294.14    4/02       19978            4,728.65
         4/05      19930                178.07    4/06       19979            1,170.42
         4/11      19931              6,254.40    4/09       19980              485.02
         4/06      19932                719.40    4/06       19982*           3,202.67
         4/09      19933                420.00    4/09       19983            4,200.00
         4/09      19934                226.20    4/13       19984            1,074.08
         4/23      19935                500.00    4/09       19985              105.70
         4/18      19936              4,048.45    4/19       19987*           6,200.00
         4/10      19937              2,118.60    4/11       19988            7,540.46
         4/04      19938                 48.90    4/09       19989            5,069.61
         4/06      19939              1,729.66    4/12       19990            5,373.44
         4/05      19941*               904.57    4/16       19991              967.94
         4/09      19942              1,180.80    4/16       19992            5,332.24
Filed 05/14/18                              Case 18-22152                                  Doc 115




                                                            Date   4/30/18     Page   10
                                                            Account Number   @XXXXXXXX@5
                                                            Enclosures               102



        Business Checking                @XXXXXXXX@5     (Continued)
        Checks in Serial Number Order
        Date    Check No                Amount   Date       Check No             Amount
         4/10      19993             12,669.00    4/23         19998*          4,558.65
         4/12      19994              1,263.92    4/20         19999           1,000.00
         4/12      19995                622.50

        Daily Balance Information
        Date          Balance       Date           Balance          Date        Balance
         4/01       88,977.32        4/10        48,034.61           4/19     62,544.76
         4/02      149,788.80        4/11        37,658.93           4/20      5,683.03
         4/03      140,389.45        4/12        63,270.01           4/23        624.38
         4/04      140,537.38        4/13        17,258.20           4/25      1,962.38
         4/05      201,131.72        4/16         2,058.02           4/26      2,043.27
         4/06      166,788.85        4/17         7,058.02           4/27      2,147.26
         4/09       90,496.96        4/18         9,009.57           4/30      2,282.29
Filed  05/14/18
  3:11 PM                                             Case 18-22152                                              Doc 115
  05/11/18
  Accrual Basis

              Type         Date                Name            Memo            Debit        Credit       Balance
     Five Star Bank - Payroll                                                                            (90,780.36)
       Transfer          04/10/2018                    Funds Transfer           35,000.00                 (55,780.36)
       Transfer          04/11/2018                    Funds Transfer           10,000.00                 (45,780.36)
       Check             04/13/2018 Five Star Bank                                              175.00    (45,955.36)
       Transfer          04/13/2018                    Funds Transfer           10,000.00                 (35,955.36)
       Transfer          04/16/2018                    Funds Transfer            8,500.00                 (27,455.36)
       Transfer          04/17/2018                    Funds Transfer            4,000.00                 (23,455.36)
       Transfer          04/18/2018                    Funds Transfer            1,500.00                 (21,955.36)
       Transfer          04/20/2018                    Funds Transfer           50,000.00                  28,044.64
       Transfer          04/20/2018                    Funds Transfer            5,000.00                  33,044.64
       General Journal   04/23/2018                    04/15/2018 Period End                146,650.34   (113,605.70)
       General Journal   04/23/2018                    04/15/2018 Period End                 47,721.35   (161,327.05)
       General Journal   04/23/2018                    04/15/2018 Period End                    213.75   (161,540.80)
       General Journal   04/23/2018                    CHECK      129            1,336.52                (160,204.28)
       General Journal   04/23/2018                    CHECK      267                           941.54   (161,145.82)
       General Journal   04/23/2018                    CHECK      268                           409.70   (161,555.52)
       General Journal   04/23/2018                    CHECK      269                           302.39   (161,857.91)
       General Journal   04/23/2018                    CHECK      270                           191.57   (162,049.48)
       General Journal   04/23/2018                    CHECK      271                           136.95   (162,186.43)
       General Journal   04/23/2018                    CHECK      272                           179.13   (162,365.56)
       General Journal   04/23/2018                    CHECK      273                         1,918.40   (164,283.96)
       General Journal   04/23/2018                    CHECK      274                         1,116.08   (165,400.04)
       General Journal   04/23/2018                    CHECK      275                           684.82   (166,084.86)
       General Journal   04/23/2018                    CHECK      276                           279.74   (166,364.60)
       General Journal   04/23/2018                    CHECK      277                           398.35   (166,762.95)
       General Journal   04/23/2018                    CHECK      278                           721.39   (167,484.34)
       General Journal   04/23/2018                    CHECK      279                           369.29   (167,853.63)
       General Journal   04/23/2018                    CHECK      280                           461.75   (168,315.38)
       General Journal   04/23/2018                    CHECK      281                           899.47   (169,214.85)
       General Journal   04/23/2018                    CHECK      282                           816.35   (170,031.20)
       General Journal   04/23/2018                    CHECK      283                         1,431.90   (171,463.10)
       General Journal   04/23/2018                    CHECK      284                         1,833.24   (173,296.34)
       General Journal   04/23/2018                    CHECK      285                         1,086.74   (174,383.08)
       General Journal   04/23/2018                    CHECK      286                           852.18   (175,235.26)
       General Journal   04/23/2018                    CHECK      287                           958.71   (176,193.97)
       General Journal   04/23/2018                    CHECK      288                         1,909.26   (178,103.23)
       General Journal   04/23/2018                    CHECK      289                         1,254.30   (179,357.53)
       General Journal   04/23/2018                    CHECK      290                         1,160.64   (180,518.17)
       General Journal   04/23/2018                    CHECK      291                         2,051.78   (182,569.95)
       General Journal   04/23/2018                    CHECK      292                         1,648.14   (184,218.09)
       General Journal   04/23/2018                    CHECK      293                         1,430.77   (185,648.86)
       General Journal   04/23/2018                    CHECK      294                         1,037.07   (186,685.93)
       General Journal   04/23/2018                    CHECK      295                           783.29   (187,469.22)
       General Journal   04/23/2018                    CHECK      296                           715.72   (188,184.94)
       General Journal   04/23/2018                    CHECK      297                         1,581.63   (189,766.57)
       General Journal   04/23/2018                    CHECK      298                         2,861.86   (192,628.43)
       General Journal   04/23/2018                    CHECK      299                           809.22   (193,437.65)
       General Journal   04/23/2018                    CHECK      300                         1,042.77   (194,480.42)
       General Journal   04/23/2018                    CHECK      301                         1,292.90   (195,773.32)
       General Journal   04/23/2018                    CHECK      302                         1,318.61   (197,091.93)
       General Journal   04/23/2018                    CHECK      303                           692.52   (197,784.45)
       General Journal   04/23/2018                    CHECK      304                           788.37   (198,572.82)
       General Journal   04/23/2018                    CHECK      305                         1,368.11   (199,940.93)
       General Journal   04/23/2018                    CHECK      306                         1,042.93   (200,983.86)
       General Journal   04/23/2018                    CHECK      307                           675.73   (201,659.59)
       General Journal   04/23/2018                    CHECK      308                         1,183.56   (202,843.15)
       General Journal   04/23/2018                    CHECK      309                           664.01   (203,507.16)



                                                                                                              Page 1 of 4
Filed  05/14/18
  3:11 PM                                    Case 18-22152                                 Doc 115
  05/11/18
  Accrual Basis

              Type         Date       Name            Memo    Debit   Credit       Balance
       General Journal   04/23/2018           CHECK     310               300.76   (203,807.92)
       General Journal   04/23/2018           CHECK     311               787.40   (204,595.32)
       General Journal   04/23/2018           CHECK     312               971.92   (205,567.24)
       General Journal   04/23/2018           CHECK     313             1,113.43   (206,680.67)
       General Journal   04/23/2018           CHECK     314               362.69   (207,043.36)
       General Journal   04/23/2018           CHECK     315               398.57   (207,441.93)
       General Journal   04/23/2018           CHECK     316             1,143.60   (208,585.53)
       General Journal   04/23/2018           CHECK     317               994.90   (209,580.43)
       General Journal   04/23/2018           CHECK     318             1,646.95   (211,227.38)
       General Journal   04/23/2018           CHECK     319             1,492.89   (212,720.27)
       General Journal   04/23/2018           CHECK     320               883.74   (213,604.01)
       General Journal   04/23/2018           CHECK     321               666.66   (214,270.67)
       General Journal   04/23/2018           CHECK     322               936.46   (215,207.13)
       General Journal   04/23/2018           CHECK     323               798.21   (216,005.34)
       General Journal   04/23/2018           CHECK     324             1,143.76   (217,149.10)
       General Journal   04/23/2018           CHECK     325             1,403.24   (218,552.34)
       General Journal   04/23/2018           CHECK     326               759.14   (219,311.48)
       General Journal   04/23/2018           CHECK     327             1,308.34   (220,619.82)
       General Journal   04/23/2018           CHECK     328             1,763.36   (222,383.18)
       General Journal   04/23/2018           CHECK     329             1,194.30   (223,577.48)
       General Journal   04/23/2018           CHECK     330               615.89   (224,193.37)
       General Journal   04/23/2018           CHECK     331               967.62   (225,160.99)
       General Journal   04/23/2018           CHECK     332             2,670.01   (227,831.00)
       General Journal   04/23/2018           CHECK     333             1,277.04   (229,108.04)
       General Journal   04/23/2018           CHECK     334               846.86   (229,954.90)
       General Journal   04/23/2018           CHECK     335             1,296.03   (231,250.93)
       General Journal   04/23/2018           CHECK     336             1,261.38   (232,512.31)
       General Journal   04/23/2018           CHECK     337               689.47   (233,201.78)
       General Journal   04/23/2018           CHECK     338               455.62   (233,657.40)
       General Journal   04/23/2018           CHECK     339               601.37   (234,258.77)
       General Journal   04/23/2018           CHECK     340               938.55   (235,197.32)
       General Journal   04/23/2018           CHECK     341               776.42   (235,973.74)
       General Journal   04/23/2018           CHECK     342               671.57   (236,645.31)
       General Journal   04/23/2018           CHECK     343               706.94   (237,352.25)
       General Journal   04/23/2018           CHECK     344               705.76   (238,058.01)
       General Journal   04/23/2018           CHECK     345             1,198.65   (239,256.66)
       General Journal   04/23/2018           CHECK     346             1,189.75   (240,446.41)
       General Journal   04/23/2018           CHECK     347               641.05   (241,087.46)
       General Journal   04/23/2018           CHECK     348               882.49   (241,969.95)
       General Journal   04/23/2018           CHECK     349               619.93   (242,589.88)
       General Journal   04/23/2018           CHECK     350               620.43   (243,210.31)
       General Journal   04/23/2018           CHECK     351               971.92   (244,182.23)
       General Journal   04/23/2018           CHECK     352                83.63   (244,265.86)
       General Journal   04/23/2018           CHECK     353               437.50   (244,703.36)
       General Journal   04/23/2018           CHECK     354             1,036.26   (245,739.62)
       General Journal   04/23/2018           CHECK     355               839.86   (246,579.48)
       General Journal   04/23/2018           CHECK     356             1,341.42   (247,920.90)
       General Journal   04/23/2018           CHECK     357               989.79   (248,910.69)
       General Journal   04/23/2018           CHECK     358               526.32   (249,437.01)
       General Journal   04/23/2018           CHECK     359               525.42   (249,962.43)
       General Journal   04/23/2018           CHECK     360               844.33   (250,806.76)
       General Journal   04/23/2018           CHECK     361             2,279.80   (253,086.56)
       General Journal   04/23/2018           CHECK     362               937.53   (254,024.09)
       General Journal   04/23/2018           CHECK     363             1,043.32   (255,067.41)
       General Journal   04/23/2018           CHECK     364             1,166.16   (256,233.57)
       General Journal   04/23/2018           CHECK     365               969.01   (257,202.58)
       General Journal   04/23/2018           CHECK     366               646.44   (257,849.02)



                                                                                        Page 2 of 4
Filed  05/14/18
  3:11 PM                                    Case 18-22152                                 Doc 115
  05/11/18
  Accrual Basis

              Type         Date       Name            Memo    Debit   Credit       Balance
       General Journal   04/23/2018           CHECK     367               663.48   (258,512.50)
       General Journal   04/23/2018           CHECK     368               815.53   (259,328.03)
       General Journal   04/23/2018           CHECK     369             1,478.18   (260,806.21)
       General Journal   04/23/2018           CHECK     370               705.51   (261,511.72)
       General Journal   04/23/2018           CHECK     371               950.10   (262,461.82)
       General Journal   04/23/2018           CHECK     372             1,000.60   (263,462.42)
       General Journal   04/23/2018           CHECK     373               974.79   (264,437.21)
       General Journal   04/23/2018           CHECK     374               734.11   (265,171.32)
       General Journal   04/23/2018           CHECK     375               638.87   (265,810.19)
       General Journal   04/23/2018           CHECK     376               906.32   (266,716.51)
       General Journal   04/23/2018           CHECK     377               660.33   (267,376.84)
       General Journal   04/23/2018           CHECK     378               827.88   (268,204.72)
       General Journal   04/23/2018           CHECK     379               845.03   (269,049.75)
       General Journal   04/23/2018           CHECK     380               823.03   (269,872.78)
       General Journal   04/23/2018           CHECK     381             1,653.59   (271,526.37)
       General Journal   04/23/2018           CHECK     382               860.96   (272,387.33)
       General Journal   04/23/2018           CHECK     383             1,099.62   (273,486.95)
       General Journal   04/23/2018           CHECK     384               813.53   (274,300.48)
       General Journal   04/23/2018           CHECK     385               707.21   (275,007.69)
       General Journal   04/23/2018           CHECK     386               621.25   (275,628.94)
       General Journal   04/23/2018           CHECK     387             1,352.51   (276,981.45)
       General Journal   04/23/2018           CHECK     388             1,087.37   (278,068.82)
       General Journal   04/23/2018           CHECK     389             1,092.78   (279,161.60)
       General Journal   04/23/2018           CHECK     390               833.92   (279,995.52)
       General Journal   04/23/2018           CHECK     391               780.60   (280,776.12)
       General Journal   04/23/2018           CHECK     392               385.82   (281,161.94)
       General Journal   04/23/2018           CHECK     393               658.10   (281,820.04)
       General Journal   04/23/2018           CHECK     394               926.79   (282,746.83)
       General Journal   04/23/2018           CHECK     395             1,223.64   (283,970.47)
       General Journal   04/23/2018           CHECK     396             1,297.29   (285,267.76)
       General Journal   04/23/2018           CHECK     397             1,153.74   (286,421.50)
       General Journal   04/23/2018           CHECK     398               776.96   (287,198.46)
       General Journal   04/23/2018           CHECK     399               503.05   (287,701.51)
       General Journal   04/23/2018           CHECK     400               870.86   (288,572.37)
       General Journal   04/23/2018           CHECK     401               482.43   (289,054.80)
       General Journal   04/23/2018           CHECK     402               683.96   (289,738.76)
       General Journal   04/23/2018           CHECK     403               938.45   (290,677.21)
       General Journal   04/23/2018           CHECK     404               771.82   (291,449.03)
       General Journal   04/23/2018           CHECK     405               993.39   (292,442.42)
       General Journal   04/23/2018           CHECK     406               859.40   (293,301.82)
       General Journal   04/23/2018           CHECK     407               749.19   (294,051.01)
       General Journal   04/23/2018           CHECK     408             1,429.32   (295,480.33)
       General Journal   04/23/2018           CHECK     409               273.04   (295,753.37)
       General Journal   04/23/2018           CHECK     410               368.96   (296,122.33)
       General Journal   04/23/2018           CHECK     411               819.60   (296,941.93)
       General Journal   04/23/2018           CHECK     412             1,135.37   (298,077.30)
       General Journal   04/23/2018           CHECK     413               375.64   (298,452.94)
       General Journal   04/23/2018           CHECK     414               912.67   (299,365.61)
       General Journal   04/23/2018           CHECK     415               961.43   (300,327.04)
       General Journal   04/23/2018           CHECK     416               366.52   (300,693.56)
       General Journal   04/23/2018           CHECK     417               562.15   (301,255.71)
       General Journal   04/23/2018           CHECK     418               451.39   (301,707.10)
       General Journal   04/23/2018           CHECK     419                98.44   (301,805.54)
       General Journal   04/23/2018           CHECK     420               453.97   (302,259.51)
       General Journal   04/23/2018           CHECK     421               175.89   (302,435.40)
       General Journal   04/23/2018           CHECK     422               598.64   (303,034.04)
       General Journal   04/23/2018           CHECK     423               848.45   (303,882.49)



                                                                                        Page 3 of 4
Filed  05/14/18
  3:11 PM                                                        Case 18-22152                                                Doc 115
  05/11/18
  Accrual Basis

              Type          Date                 Name                       Memo      Debit            Credit        Balance
       General Journal   04/23/2018                               CHECK       424                          888.11     (304,770.60)
       General Journal   04/23/2018                               CHECK       425                          973.09     (305,743.69)
       General Journal   04/23/2018                               CHECK       426                          246.26     (305,989.95)
       General Journal   04/23/2018                               CHECK       427                          599.86     (306,589.81)
       General Journal   04/23/2018                               CHECK       428                          311.85     (306,901.66)
       General Journal   04/23/2018                               CHECK       429                          403.31     (307,304.97)
       General Journal   04/23/2018                               CHECK       430                          312.43     (307,617.40)
       General Journal   04/23/2018                               CHECK       431                          296.52     (307,913.92)
       General Journal   04/23/2018                               CHECK       432                          277.22     (308,191.14)
       General Journal   04/23/2018                               CHECK       433                          213.75     (308,404.89)
       General Journal   04/23/2018                               CHECK       129      146,864.09                     (161,540.80)
       Check             04/24/2018 Caffe Ettore, Inc.                                  75,000.00                      (86,540.80)
       Check             04/25/2018 Caffe Ettore, Inc.                                  40,000.00                      (46,540.80)
       Check             04/26/2018 QuickBooks Payroll Service                                             120.00      (46,660.80)
       Check             04/27/2018 Caffe Ettore, Inc.                                  30,000.00                      (16,660.80)
       Deposit           04/30/2018                               Deposit                     0.01                     (16,660.79)
     Total Five Star Bank - Payroll                                                   417,200.62       343,081.05     (16,660.79)


  TOTAL                                                                             417,200.62       343,081.05     (16,660.79)




                                                                                                                           Page 4 of 4
Filed 05/14/18                     Case 18-22152                             Doc 115
          Caffe Ettore Inc                         Date   4/30/18     Page    1
          1168 National Drive, Suite 10            Account Number   @XXXXXXXX@1
          Sacramento CA 95834                      Enclosures




       Use Five Star Bank's mobile banking app on your smart device to
     check your balance or transaction history, deposit checks, activate
             your debit card, and more! Call (916) 626-5012 to enroll.


Business Money Market                     Number of Enclosures                 0
Account Number              @XXXXXXXX@1   Statement Dates 4/01/18 thru   4/30/18
Previous Balance                  21.89   Days in the statement period        30
      Deposits/Credits              .00   Average Ledger                      21
      Checks/Debits                 .00   Average Collected                   21
      Electronic DR                 .00
Service Charge                      .00
Interest Paid                       .00
Ending Balance                    21.89

Daily Balance Information
Date          Balance
 4/01           21.89
Filed 05/14/18                                                       Case 18-22152                                                        Doc 115
                         Gold River        (916)967-2265                 Jackson        (209)223-2320               Access24         (916) 967-2424
                         Bradshaw          (916)368-3400                 Buckhorn       (209)295-2265                                (800) 609-4047
 [5E1                    Roseville         (916) 786-7905                lone           (209)274-4731
                         Point West        (916)565-6100                 Santa Rosa     (707)528-6300
              w          Capitoi Mail      (916)441-5150                 Healdsburg     (707)431-8800
                                                                                                                    AmericanRiverBank.com
MEMBER FDIC




                                                                                                   Account Number            I 173
                  4323    CAFFE ETTORE INCORPORATED                                                Statement Date         4/30/18
                          BANKRUPTCY ESTATE                                                           Page Number                1
                          DEBTOR IN POSESSION CASE 18-22152                                                 Items               60
                          1168 NATIONAL DR STE 10
                          SACRAMENTO CA 95834



                                        Streamline Operations with Direct Deposit & Electronic Payments
                                                 Eliminate paper checks and speed up payments
                                                 with cost-effective and secure ACH Services.
                                                Learn more at AmericanRiverBank.com/ACH-Services

                             BUSINESS BASIC                                           173
                    Previous Balance on     4/10/18                                                           $              .00
                     88 Deposits and Other Additions (Credits)                                                +       507,322.29
                     80 Checks and Other Charges                     (Debits)                                         448,451.26

                    Current Balance on               4/30/18                                                  $         58,871.03



                                                              Checking Account Transactions

                   4/13/18 DEPOSIT                                                                                       9,570.02 +
                   4/16/18 DIRECT DEPOSIT            Square    Inc   SDV-VRFY                                                  .01    +
                   4/16/18 DIRECT DEPOSIT            Square    Inc   SDV-VRFY                                                  .01    +
                   4/16/18 DIRECT DEPOSIT            Square    Inc   SDV-VRFY                                                  .01    +
                   4/16/18 DIRECT DEPOSIT            Square    Inc   SDV-VRFY                                                  .01    +
                   4/16/18 DIRECT DEPOSIT            Square    Inc   180416P2                                              907.61     +
                   4/16/18 DIRECT DEPOSIT            Square    Inc   180416P2                                            8,798.36     +
                   4/16/18 DIRECT DEPOSIT            Square    Inc   180416P2                                            9,217.39     +
                   4/16/18 DIRECT DEPOSIT            Square    Inc   180416P2                                            9,734.85     +
        m          4/16/18 DIRECT DEPOSIT            Square    Inc   0416 ETSAC                                         11,424.70     +
                   4/16/18 DIRECT DEPOSIT            Square    Inc   0416 ETSAC                                         14,181.70     +
                   4/16/18 DIRECT DEPOSIT            Square    Inc   0416 ETSAC                                         15,454.38     +
                   4/16/18 DEPOSIT                                                                                       2,072.48     +
                   4/16/18 DEPOSIT                                                                                       2,422.42     +
                   4/16/18 DEPOSIT                                                                                       2,563.74     +
                   4/16/18    DEPOSIT                                                                                    2,693.00     +
                   4/16/18    DEPOSIT                                                                                    3,165.46     +
                   4/16/18    DEPOSIT                                                                                    3,581.22     +
                   4/17/18    CREDIT MEMO            DEP 4/16 ERROR IN ADDITION                                                .10    +
                   4/17/18    DIRECT DEPOSIT         Square Inc 180417P2                                                 8,518.38     +
                   4/17/18    DIRECT DEPOSIT         Square Inc 0417 ETSAC                                              12,931.55     +
                   4/17/18    DEPOSIT                                                                                      645.03     +
                   4/18/18    DIRECT DEPOSIT         Square Inc 180418P2                                                   958.75     +
                   4/18/18    DIRECT DEPOSIT         Square Inc 180418P2                                                 4,632.20     +
                   4/18/18    DIRECT DEPOSIT         Square Inc 0418 ETSAC                                              10,242.04     +
                   4/18/18    DEPOSIT                                                                                    2,196.46     +
                   4/18/18    DEPOSIT                                                                                    3,347.87     +




                                                            Giving Business More Reach
Filed 05/14/18                                                   Case 18-22152                                                         Doc 115
                       Gold River       (916) 967-2265               Jackson      (209) 223-2320              Access 2 4          (916)967-2424
                       Bradshaw         (916)368-3400                Buckhorn     (209) 295-2265                                  (800) 609-4047
 If?
                       Rosevlile        (916) 786-7905               ione         (209)274-4731
                       Point West       (916) 565-6100               Santa Rosa   (707)528-6300

MEMBER FD]C
              m        Capitol Mali     (916) 441-5150               Heaidsburg   (707)431-8800
                                                                                                              AmericanRiverBank.com
                                                                                                                           4323


                        CAFFE ETTORE INCORPORATED                                             Account Number:            173
                        BANKRUPTCY ESTATE                                                     Statement Date:        4/30/18
                        DEBTOR IN POSESSION CASE 18-22152                                          Page Number:            2
                        1168 NATIONAL DR STE 10                                                          Items:           60
                        SACRAMENTO CA 95834




                  4/19/18 DIRECT DEPOSIT          Square Inc 180419P2                                                561.87        +
                  4/19/18 DIRECT DEPOSIT          Square Inc 180419P2                                              7,248.17        +
                  4/19/18   DIRECT DEPOSIT        Square Inc 0419 ETSAC                                           10,091.11       +
                  4/20/18   DIRECT DEPOSIT        Square Inc 180420P2                                              1,180.56       +
                  4/20/18   DIRECT DEPOSIT        Square Inc 180420P2                                              6,568.73       +
                  4/20/18   DIRECT DEPOSIT        Square Inc 0420 ETSAC                                           11.475.53       +
                  4/20/18   DIRECT DEPOSIT        NUGGET MARKET IN PAYMENT                                        26,344.51        +
                  4/20/18   DEPOSIT                                                                                1,477.38        +
                  4/20/18   DEPOSIT                                                                                1.845.84        +
                  4/20/18   DEPOSIT                                                                                1,935.41       +
                  4/20/18   DEPOSIT                                                                                2,918.62       +
                  4/20/18   DEPOSIT                                                                                3,875.94       +
                  4/23/18   CREDIT MEMO                                                                                3.00       +
                  4/23/18 DIRECT DEPOSIT          Square   Inc   180423P2                                             39.41       +
                  4/23/18 DIRECT DEPOSIT          Square   Inc   180423P2                                          1,106.70       +                i
                  4/23/18 DIRECT DEPOSIT          Square   Inc   180423P2                                          7,786.45       +
                  4/23/18 DIRECT DEPOSIT          Square   Inc   180423P2                                          7.999.52       +
                  4/23/18   DIRECT    DEPOSIT     Square   Inc   0423 ETSAC                                        9,963.43        +
                  4/23/18   DIRECT    DEPOSIT     Square   Inc   180423P2                                         10,299.64        +
                  4/23/18   DIRECT    DEPOSIT     Square   Inc   0423 ETSAC                                       13.340.54        +
                  4/23/18   DIRECT    DEPOSIT     Square   Inc   0423 ETSAC                                       13,600.22        +
                  4/23/18   DEPOSIT                                                                                    628.18 +
                  4/23/18   DEPOSIT                                                                                 1,982.00      +
                  4/23/18   DEPOSIT                                                                                 2,388.21      +
  El
                  4/23/18   DEPOSIT                                                                                 2.495.53      +
                  4/23/18   DEPOSIT                                                                                 3,109.65      +
                  4/23/18   DEPOSIT                                                                                4,292.50       +
                  4/24/18   DIRECT DEPOSIT        Square Inc 180424P2                                              8,782.05       +
                  4/24/18 DIRECT DEPOSIT          Square Inc 0424 ETSAC                                           11,895.43       +
                  4/25/18 DIRECT DEPOSIT          Square Inc 180425P2                                               1.094.36      +
                  4/25/18   DIRECT DEPOSIT        Square Inc 180425P2                                               6,762.89      +
                  4/25/18   DIRECT DEPOSIT        Square Inc 0425 ETSAC                                             8,729.82      +
                  4/25/18   DEPOSIT                                                                                 1.421.85      +
                  4/25/18   DEPOSIT                                                                                 2,835.30      +
                  4/26/18   DIRECT DEPOSIT        Square Inc 180426P2                                                 734.97      +
                  4/26/18   DIRECT DEPOSIT        Square Inc 180426P2                                               6,626.65      +
                  4/26/18   DIRECT DEPOSIT        Square Inc 0426 ETSAC                                             9,764.67      +
                  4/26/18   DEPOSIT                                                                                 1.399.37      +
                  4/26/18   DEPOSIT                                                                                 1.443.38      +
                  4/26/18   DEPOSIT                                                                                 2,135.40      +
                  4/27/18   DIRECT DEPOSIT        Square Inc 180427P2                                               1,694.37      +




                                                         Giving Business More Reach
Filed 05/14/18                                                  Case 18-22152                                                             Doc 115
                       Gold River     (916)967-2265                  Jackson            (209)223-2320             Access24           (916) 967-242 4
                       Bradshaw       (916)368-3400                  Buckhorn           (209) 295-2265                               (800) 609-4047
                       Roseville      (916) 786-7905                 lone               (209)274-4731
                       Point West     (916)565-6100                  Santa Rosa         (707) 528-6300
              w        Capitol Mall   (916) 441-5150                 Heaidsburg         (707)431-8800
                                                                                                                  AmericanRiverBank.com                !
MEMBER FPIC


                                                                                                                             4323


                        CAFFE ETTORE INCORPORATED                                                   Account Number:            173
                        BANKRUPTCY ESTATE                                                           Statement Date:
                        DEBTOR IN POSESSION CASE 18-22152                                              Page Number:              3
                        1168 NATIONAL DR STE 10                                                              Items:             60
                        SACRAMENTO CA 95834




                  4/27/18   DIRECT DEPOSIT      Square Inc 180427P2                                                    6,608.99 +
                  4/27/18   DIRECT DEPOSIT      Square Inc 0427 ETSAC                                                 10,808.16 +
                  4/27/18   DIRECT DEPOSIT      NUGGET MARKET IN PAYMENT                                              40,255.91 +
                  4/27/18   DEPOSIT                                                                                      655.17       +
                  4/27/18   DEPOSIT                                                                                    2,891.24       +
                  4/27/18   DEPOSIT                                                                                    3,036.27       +
                  4/30/18   DIRECT DEPOSIT      Square    Inc   180430P2                                                 496 . 60     +
                  4/30/18   DIRECT DEPOSIT      Square    Inc   180430P2                                               7.455.80       +
                  4/30/18   DIRECT DEPOSIT      Square    Inc   180430P2                                               9,094.94       +
                  4/30/18   DIRECT DEPOSIT      Square    Inc   0430 ETSAC                                            10,582.64       +
                  4/30/18   DIRECT DEPOSIT      Square    Inc   180430P2                                              12,176.12       +
                  4/30/18   DIRECT DEPOSIT      Square    Inc   0430 ETSAC                                            14,179.66       +
                  4/30/18   DIRECT DEPOSIT      Square    Inc   0430 ETSAC                                            14,213.97       +
                  4/30/18   DEPOSIT                                                                                          41.12 +
                  4/30/18   DEPOSIT                                                                                    1,823.66 +
                  4/30/18   DEPOSIT                                                                                    1.868.81 +
                  4/30/18   DEPOSIT                                                                                    2,141.87 +
                  4/30/18   DEPOSIT                                                                                    2,621.90 +
                  4/30/18   DEPOSIT                                                                                    3,445.92 +
                  4/30/18   DEPOSIT                                                                                    3,784.63 +
                  4/16/18   AUTOMATIC DEBIT     Square Inc SDV-VRFY                                                          .01 -
                  4/16/18   AUTOMATIC DEBIT     Square Inc SDV-VRFY                                                            .01
                  4/16/18   AUTOMATIC DEBIT     Square Inc SDV-VRFY                                                            .01 -
                  4/16/18   AUTOMATIC DEBIT     Square Inc SDV-VRFY                                                            .01 -
  PI              4/18/18   AUTOMATIC DEBIT     SYSCO SACRAMENT VENDOR PAY                                             1,103.57       -
                  4/18/18   AUTOMATIC DEBIT     SYSCO SACRAMENT VENDOR PAY                                             1,151.40       -
                  4/18/18   AUTOMATIC DEBIT     SYSCO SACRAMENT VENDOR PAY                                             1,346.29       -
                  4/23/18   DEBIT MEMO                                                                                     1.00       -
                  4/23/18   AUTOMATIC DEBIT     POS PORTAL INC 10820688                                                  412.52       -
                  4/24/18   AUTOMATIC DEBIT     SYSCO SACRAMENT VENDOR PAY                                               650.50       -
                  4/24/18   AUTOMATIC DEBIT     SYSCO    SACRAMENT   VENDOR       PAY                                    693.75       -
                  4/24/18   AUTOMATIC DEBIT     SYSCO    SACRAMENT   VENDOR       PAY                                  1.311.88       -
                  4/24/18   AUTOMATIC DEBIT     SYSCO    SACRAMENT   VENDOR       PAY                                  1.644.54       -
                  4/24/18   AUTOMATIC DEBIT     SYSCO    SACRAMENT   VENDOR       PAY                                  2.006.55       -
                  4/26/18   DEBIT MEMO                                                                                       .04      -
                  4/27/18   DEBIT MEMO                                                                                 9,383.45       -
                  4/30/18   DEBIT MEMO                                                                                       .16      -
                  4/30/18   AUTOMATIC DEBIT     MICROSOFT 6041 EDI PAYMNT                                                167.58       -
                  4/30/18   AUTOMATIC DEBIT     MICROSOFT 6041 EDI PAYMNT                                                343.95       -
                  4/30/18   AUTOMATIC DEBIT     SYSCO SACRAMENT VENDOR PAY                                               519.75       -
                  4/30/18   AUTOMATIC DEBIT     SYSCO SACRAMENT VENDOR PAY                                             1,307.90       -




                                                        Giving Business More Reach
Filed 05/14/18                                                  Case 18-22152                                                           Doc 115
                       Gold River     (916)967-2265                  Jackson        (209)223-2320                Access24          (916) 967-2424
                       Bradshaw       (916) 368-3400                 Buckhorn       (209)295-2265                                  (800) 609-4047
 :Tr                   Rosevilie      (916) 786-7905                 lone           (209)274-4731
                       Point West     (916) 565-6100                 Santa Rosa     (707)528-6300

MEMBER FDlC
              m        Capitol Mail    (916) 441-5150                Healdsburg     (707) 431-8800
                                                                                                                 AmericariRiverBank.com
                                                                                                                            4323


                        CAFFE ETTORE INCORPORATED                                               Account Number             173
                        BANKRUPTCY ESTATE                                                       Statement Date         4/30/18
                        DEBTOR IN POSESSION CASE 18-22152                                          Page Number                 4
                        1168 NATIONAL DR STE 10                                                          Items                60
                        SACRAMENTO CA 95834

                                                                                                                                                    !




                  4/30/18 AUTOMATIC DEBIT FIRST INSURANCE INSURANCE                                                   1,632.85      -
                  4/30/18 AUTOMATIC DEBIT FIRST INSURANCE INSURANCE                                                 16,191.95 -
                  4/30/18 AUTOMATIC DEBIT KAISER GROUP DUE INTERNET                                                 25,196.52 -

                        Check #       Date Paid            Amount                  Check #       Date Paid         Amount

                           1000         4/27/18             325.00                    9999*          4/13/18     3,717.31
                           1001         4/24/18           1,488.95                    9999*          4/16/18     1,353.35
                            1002        4/23/18           5,124.23                    9999*          4/17/18     1,225.80
                            1003        4/26/18           3,270.61                    9999*          4/18/18       127.98
                            1005*       4/20/18          55,000.00                    9999*          4/18/18       144.00
                           1006         4/25/18           4,933.81                    9999*          4/18/18     3,545.66
                           1007         4/23/18             191.20                    9999*          4/18/18     4,749.29
                           1008         4/25/18           2,792.48                    9999*          4/18/18     5,000.00
                           1010*        4/30/18           1,088.95                    9999*          4/18/18     6,056.11
                           1011         4/30/18             653.00                    9999*          4/18/18     8,181.88
                           1012         4/30/18             836.34                    9999*          4/19/18       286.01
                           1014*        4/24/18           4,470.30                    9999*          4/19/18     1,244.15
                           1016*        4/24/18           3,930.05                    9999*          4/19/18     2.121.51
                           1019*        4/30/18          5,367.47                     9999*          4/19/18     3,793.42
                           1020         4/30/18            745.95                     9999*          4/19/18    10,000.00
                           1021         4/25/18          75,000.00                    9999*          4/20/18       248.80
                           1022         4/27/18           7,544.25                    9999*          4/20/18     4.181.52
                           1023         4/30/18           1,061.00                    9999*          4/20/18    17,700.23
                           1032*        4/26/18         40,000.00                     9999*          4/23/18       123.00
                           1033         4/30/18          1,441.80                     9999*          4/23/18     1,228.15
                           1034         4/27/18           1,856.52                    9999*          4/23/18     1,326.40
                           1035         4/26/18          1,000.00                     9999*          4/23/18     1.750.06
                           1036         4/27/18          4,257.85                     9999*          4/23/18     5,289.62
                           1037         4/30/18         10,500.00                     9999*          4/23/18     6.521.07
                            1041*       4/30/18          1,512.85                     9999*          4/25/18    10,000.00
                            1042        4/30/18          4,831.44                     9999*          4/25/18        45.00
                            1043        4/30/18         30,000.00                     9999*          4/25/18       155.20
                            1054*       4/30/18          1,267.50                     9999*          4/30/18    12,778.00

                                                              DAILY BALANCE SUMMARY
                          -Balance Date-                  -Balance Date-        -Balance Date-                  -Balance Date-
                               .00    4/10              101,557.07   4/18         144,053.79     4/24          58,871.03 4/30
                         5,852.71     4/13              102,013.13   4/19          71,971.52     4/25
                        90,716.67     4/16               82,505.10   4/20         49,805.31      4/26
                       111,585.93     4/17              139,572.83   4/23         92,388.35      4/27

                      Average Collected Balance for Period was                    66,271.91




                                                          Giving Business More Reach
Filed  05/14/18
  2:31 PM                                                     Case 18-22152                                              Doc 115
  05/11/18
  Accrual Basis

                  Type      Date          Num     Adj                   Name                Debit        Credit       Balance
     American River Bank - General
        Check             04/12/2018 2                  JBS                                                3,717.31    16,502.68
        Check             04/12/2018 3                  Challenge Dairy Products, Inc.                     4,749.29    11,753.39
        Check             04/12/2018 4                  Challenge Dairy Products, Inc.                       127.98    11,625.41
        Check             04/12/2018 5                  DBI Beverage Sacramento                              155.20    11,470.21
        Sales Receipt     04/12/2018 04122018R          RSVL DAILY SALES                      8,798.36                  8,798.36
        Sales Receipt     04/12/2018 04122018FO         FO DAILY SALES                       11,421.63                 20,219.99
        Check             04/13/2018 6                  Bryan Bullard                                     10,000.00     1,470.21
        Check             04/13/2018 7                  Harsch Investment Properties, LLC                 17,700.23    (16,230.02)
        Check             04/13/2018 8                  Rio Del Oro Plaza                                 12,778.00    (29,008.02)
        Check             04/13/2018 1                  Marque Foods, LLC                                  6,056.11    (25,494.11)
        Check             04/13/2018 9                  Produce Express                                    1,353.35    (26,847.46)
        Deposit           04/13/2018                                                          9,570.02                 (19,438.00)
        Sales Receipt     04/13/2018 04132018R          RSVL DAILY SALES                      9,149.83                 (17,697.63)
        Sales Receipt     04/13/2018 04132018R          RSVL DAILY SALES                      2,693.00                 (15,004.63)
        Sales Receipt     04/13/2018 04132018FO         FO DAILY SALES                       14,157.15                    (847.48)
        Sales Receipt     04/13/2018 04132018FO         FO DAILY SALES                        3,165.46                  2,317.98
        Check             04/14/2018 10                 Produce Express                                    1,225.60     1,092.38
        Sales Receipt     04/14/2018 04142018FO         FO DAILY SALES                       15,454.38                 16,546.76
        Sales Receipt     04/14/2018 04142018FO         FO DAILY SALES                        3,581.22                 20,127.98
        Sales Receipt     04/14/2018 04142018R          RSVL DAILY SALES                      9,802.41                 29,930.39
        Sales Receipt     04/14/2018 04142018R          RSVL DAILY SALES                      2,422.42                 32,352.81
        Sales Receipt     04/15/2018 04152018R          RSVL DAILY SALES                      8,557.07                 40,909.88
        Sales Receipt     04/15/2018 04152018R          RSVL DAILY SALES                      2,072.48                 42,982.36
        Sales Receipt     04/15/2018 04152018FO         FO DAILY SALES                       12,967.91                 55,950.27
        Sales Receipt     04/15/2018 04152018FO         FO DAILY SALES                        2,563.74                 58,514.01
        Check             04/16/2018 17                 Norcal Janitorial & Maintenance                    8,181.88    50,332.13
        Bill Pmt -Check   04/16/2018 15                 Shasta-Am Linen Sply, Inc.                           286.01    44,257.90
        Check             04/16/2018 11                 Challenge Dairy Products, Inc.                     2,121.51    48,210.62
        Check             04/16/2018 12                 Dawn Food Products, Inc.                           4,181.52    44,029.10
        Bill Pmt -Check   04/16/2018 13                 Reed's Gourmet Meat Co.                              248.80    43,780.30
        Bill Pmt -Check   04/16/2018 14                 Watanabe Farms                                       144.00    43,636.30
        Bill Pmt -Check   04/16/2018 16                 Scott-Naake Paper Co., Inc.                        3,545.66    40,712.24
        Bill Pmt -Check   04/16/2018 18                 Del Monte Meat Co., Inc.                           3,793.42    36,918.82
        Check             04/16/2018 20                 Challenge Dairy Products, Inc.                     5,289.62    31,629.20
        Bill Pmt -Check   04/16/2018 19                 Produce Express                                    1,244.15    30,385.05
        Sales Receipt     04/16/2018 04162018-2         FO DAILY SALES                         907.61                  44,543.91
        Sales Receipt     04/16/2018 04142019FO         FO DAILY SALES                                                 31,629.20
        Sales Receipt     04/16/2018 04142019FO         FO DAILY SALES                                                 31,629.20
        Sales Receipt     04/16/2018 04142020FO         RSVL DAILY SALES                                               31,629.20
        Sales Receipt     04/16/2018 04142020FO         RSVL DAILY SALES                                               31,629.20
        Sales Receipt     04/16/2018 04162018R          RSVL DAILY SALES                      4,593.51                 34,978.56
        Sales Receipt     04/16/2018 04162018R          RSVL DAILY SALES                       645.03                  35,623.59
        Sales Receipt     04/16/2018 04162018FO         FO DAILY SALES                       10,205.68                 45,829.27
        Sales Receipt     04/16/2018 04162018FO         FO DAILY SALES                        2,196.46                 48,025.73
        Bill Pmt -Check   04/17/2018 ONLINE             Sysco Sacramento                                   1,103.57    46,922.16
        Bill Pmt -Check   04/17/2018 ONLINE             Sysco Sacramento                                   1,346.29    45,575.87
        Bill Pmt -Check   04/17/2018 ONLINE             Sysco Sacramento                                   1,151.40    44,424.47
        Check             04/17/2018 21                                                                    5,000.00    39,424.47
        Sales Receipt     04/17/2018 04172018R          RSVL DAILY SALES                      7,312.95                 46,737.42
        Sales Receipt     04/17/2018 04172018R          RSVL DAILY SALES                      1,477.38                 48,214.80
        Sales Receipt     04/17/2018 04172018FO         FO DAILY SALES                       10,318.65                 58,533.45
        Sales Receipt     04/17/2018 04172018FO         FO DAILY SALES                        3,343.97                 61,877.42
        Bill Pmt -Check   04/18/2018 22                 Grateful Bread Company                                45.00    61,832.42
        Bill Pmt -Check   04/18/2018 23                 Produce Express                                    1,228.15    60,604.27
        Check             04/18/2018 24                 Marque Foods, LLC                                  6,521.07    54,083.20
        Check             04/18/2018 26                                                                   10,000.00    45,041.95



                                                                                                                      Page 1 of 4
Filed  05/14/18
  2:31 PM                                                   Case 18-22152                                               Doc 115
  05/11/18
  Accrual Basis

                  Type      Date          Num     Adj                   Name               Debit        Credit       Balance
        Sales Receipt     04/18/2018 04182018-2         FO DAILY SALES                        958.75                   55,041.95
        Sales Receipt     04/18/2018 04182018R          RSVL DAILY SALES                     6,503.95                  51,545.90
        Sales Receipt     04/18/2018 04182018R          RSVL DAILY SALES                     1,845.84                  53,391.74
        Sales Receipt     04/18/2018 04182018FO         FO DAILY SALES                      11,333.90                  64,725.64
        Sales Receipt     04/18/2018 04182018FO         FO DAILY SALES                       3,875.94                  68,601.58
        Check             04/19/2018 1000               The Retirement Advantage                            325.00     65,077.12
        Check             04/19/2018 1003               The Trenchless Co.                                3,270.61     55,755.20
        Check             04/19/2018 25                 Produce Express                                   1,326.40     67,275.18
        Check             04/19/2018 27                 Challenge Dairy Products, Inc.                    1,750.06     65,525.12
        Check             04/19/2018 28                 DBI Beverage Sacramento                             123.00     65,402.12
        Check             04/19/2018 1001               Produce Express                                   1,488.95     64,150.04
        Check             04/19/2018 1002               Challenge Dairy Products, Inc.                    5,124.23     59,025.81
        Check             04/19/2018 1005               Caffe Ettore, Inc.                               55,000.00       755.20
        Sales Receipt     04/19/2018 04182018-2         FO DAILY SALES                        561.87                   65,638.99
        Sales Receipt     04/19/2018 04192018R          RSVL DAILY SALES                     7,786.45                   8,541.65
        Sales Receipt     04/19/2018 04192018R          RSVL DAILY SALES                     1,935.41                  10,477.06
        Sales Receipt     04/19/2018 04192018FO         FO DAILY SALES                       9,877.52                  20,354.58
        Sales Receipt     04/19/2018 04192018FO         FO DAILY SALES                       2,918.62                  23,273.20
        Check             04/20/2018 1004               Jennifer Langley                                    150.00     23,123.20
        Check             04/20/2018 1013               Johnathan Prince                                    700.60     48,767.11
        Deposit           04/20/2018                                                        26,344.51                  49,467.71
        Sales Receipt     04/20/2018 04202018-2         FO DAILY SALES                       1,180.56                  49,947.67
        Sales Receipt     04/20/2018 04202018R          RSVL DAILY SALES                     7,999.52                  57,947.19
        Sales Receipt     04/20/2018 04202018R          RSVL DAILY SALES                     2,495.53                  60,442.72
        Sales Receipt     04/20/2018 04202018FO         FO DAILY SALES                      13,332.97                  73,775.69
        Sales Receipt     04/20/2018 04202018FO         FO DAILY SALES                       3,109.65                  76,885.34
        Check             04/21/2018 1014               Produce Express                                   4,470.30     72,415.04
        Sales Receipt     04/21/2018 04212018FO         FO DAILY SALES                      13,644.76                  86,059.80
        Sales Receipt     04/21/2018 04212018FO         FO DAILY SALES                       4,292.50                  90,352.30
        Sales Receipt     04/21/2018 04212018R          RSVL DAILY SALES                    10,299.64                 100,651.94
        Sales Receipt     04/21/2018 04212018R          RSVL DAILY SALES                      628.18                  101,280.12
        Sales Receipt     04/22/2018 04222018R          RSVL DAILY SALES                     8,782.05                 110,062.17
        Sales Receipt     04/22/2018 04222018R          RSVL DAILY SALES                     1,982.00                 112,044.17
        Sales Receipt     04/22/2018 04222018FO         FO DAILY SALES                      11,858.46                 123,902.63
        Sales Receipt     04/22/2018 04222018FO         FO DAILY SALES                       2,388.21                 126,290.84
        Bill Pmt -Check   04/23/2018 1016               Aqua Clean Solutions                              3,930.05    110,724.21
        Check             04/23/2018 1006               Dawn Food Products, Inc.                          4,933.81    121,357.03
        Bill Pmt -Check   04/23/2018 1007               Reed's Gourmet Meat Co.                             191.20    121,165.83
        Bill Pmt -Check   04/23/2018 1008               Scott-Naake Paper Co., Inc.                       2,792.48    118,373.35
        Bill Pmt -Check   04/23/2018 1009               Watanabe Farms                                      288.00    118,085.35
        Bill Pmt -Check   04/23/2018 1010               Southern Glazer's Wine & Spirits                  1,088.95    116,996.40
        Bill Pmt -Check   04/23/2018 1011               Wine Warehouse                                      653.00    116,343.40
        Bill Pmt -Check   04/23/2018 1015               Aloha Seafood                                       852.80    115,490.60
        Check             04/23/2018 1012               Challenge Dairy Products, Inc.                      836.34    114,654.26
        Bill Pmt -Check   04/23/2018 1017               Shasta-Am Linen Sply, Inc.                          638.62    110,085.59
        Bill Pmt -Check   04/23/2018 1018               Del Monte Meat Co., Inc.                          4,944.78    105,140.81
        Bill Pmt -Check   04/23/2018 ONLINE             Sysco Sacramento                                  6,307.22     98,833.59
        Sales Receipt     04/23/2018 04232018-2         FO DAILY SALES                       1,106.70                  99,940.29
        Sales Receipt     04/23/2018 04232018-3         FO DAILY SALES                         39.41                   99,979.70
        Sales Receipt     04/23/2018 04232018FO         FO DAILY SALES                       8,729.82                 108,709.52
        Sales Receipt     04/23/2018 04232018FO         FO DAILY SALES                       1,421.85                 110,131.37
        Sales Receipt     04/23/2018 04232018R          RSVL DAILY SALES                     6,929.12                 117,060.49
        Sales Receipt     04/23/2018 04232018R          RSVL DAILY SALES                     1,443.38                 118,503.87
        Bill Pmt -Check   04/24/2018 1025               Allstream                                         1,124.25    116,545.46
        Bill Pmt -Check   04/24/2018 1028               Nelco                                               162.64    115,238.42
        Check             04/24/2018 1031               Angel Woolman                                       219.98    113,374.64
        Bill Pmt -Check   04/24/2018 1030               The Print Center                                  1,580.45    113,594.62



                                                                                                                     Page 2 of 4
Filed  05/14/18
  2:31 PM                                                     Case 18-22152                                              Doc 115
  05/11/18
  Accrual Basis

                  Type      Date        Num       Adj                    Name               Debit        Credit       Balance
        Bill Pmt -Check   04/24/2018 1029               One Stop Smog & Auto Repair                           63.35    115,175.07
        Bill Pmt -Check   04/24/2018 1024               Aflac                                                834.16    117,669.71
        Check             04/24/2018 1019               Challenge Dairy Products, Inc.                     5,367.47    108,007.17
        Check             04/24/2018 1020               Produce Express                                      745.95    107,261.22
        Check             04/24/2018 1022               Marque Foods, LLC                                  7,544.25     24,716.97
        Check             04/24/2018 1021               Caffe Ettore, Inc.                                75,000.00     32,261.22
        Bill Pmt -Check   04/24/2018 1026               Atlas Disposal Industries                            609.40    115,936.06
        Bill Pmt -Check   04/24/2018 1027               Crime Alert Security                                 535.00    115,401.06
        Sales Receipt     04/24/2018 04242018R          RSVL DAILY SALES                      6,460.42                  31,177.39
        Sales Receipt     04/24/2018 04242018R          RSVL DAILY SALES                      1,399.37                  32,576.76
        Sales Receipt     04/24/2018 04242018FO         FO DAILY SALES                        9,814.59                  42,391.35
        Sales Receipt     04/24/2018 04242018FO         FO DAILY SALES                        2,835.30                  45,226.65
        Check             04/25/2018 1035               Petty Cash                                         1,000.00      3,847.49
        Check             04/25/2018 ACH                POS Portal, Inc.                                     412.52     44,814.13
        Check             04/25/2018 1023               Produce Express                                    1,061.00     43,753.13
        Check             04/25/2018 1032               Caffe Ettore, Inc.                                40,000.00      4,847.49
        Sales Receipt     04/25/2018 04252018-2         FO DAILY SALES                        1,094.36                  44,847.49
        Sales Receipt     04/25/2018 04252018R          RSVL DAILY SALES                      6,608.99                  10,456.48
        Sales Receipt     04/25/2018 04252018R          RSVL DAILY SALES                      2,135.40                  12,591.88
        Sales Receipt     04/25/2018 04252018FO         FO DAILY SALES                       10,758.24                  23,350.12
        Sales Receipt     04/25/2018 04252018FO         FO DAILY SALES                        3,036.27                  26,386.39
        Check             04/26/2018 1038               Luz Niebla                                            88.00      8,977.19
        Check             04/26/2018 1037               Ravazzolo, Ettore                                 10,500.00      8,330.22
        Check             04/26/2018 1033               Produce Express                                    1,441.80     24,944.59
        Check             04/26/2018 1034               Challenge Dairy Products, Inc.                     1,856.52     23,088.07
        Check             04/26/2018 1036               JBS                                                4,257.85     18,830.22
        Sales Receipt     04/26/2018 04262017-2         FO DAILY SALES                         734.97                    9,065.19
        Sales Receipt     04/26/2018 04262018R          RSVL DAILY SALES                      7,455.80                  16,432.99
        Sales Receipt     04/26/2018 04262018R          RSVL DAILY SALES                        41.12                   16,474.11
        Sales Receipt     04/26/2018 04262018FO         FO DAILY SALES                       10,582.64                  27,056.75
        Sales Receipt     04/26/2018 04262018FO         FO DAILY SALES                        2,891.24                  29,947.99
        Bill Pmt -Check   04/27/2018 1050               Buckmaster                                           214.84     (5,930.53)
        Bill Pmt -Check   04/27/2018 1047               Premier Access                                     4,208.09     31,411.22
        Bill Pmt -Check   04/27/2018 ONLINE             Kaiser Permanente                                 25,196.52      6,214.70
        Bill Pmt -Check   04/27/2018 1051               Great American Financial Services                    441.67     (6,372.20)
        Bill Pmt -Check   04/27/2018 1049               Aqua Clean Solutions                                 580.69      3,667.76
        Check             04/27/2018 1041               Produce Express                                    1,512.85     28,226.73
        Check             04/27/2018 1042               Challenge Dairy Products, Inc.                     4,831.44     23,395.29
        Check             04/27/2018 1044               Marque Foods, LLC                                    381.43     33,924.94
        Bill Pmt -Check   04/27/2018 ONLINE             Sysco Sacramento                                   1,827.65      4,387.05
        Bill Pmt -Check   04/27/2018 1048               Aloha Seafood                                        138.60      4,248.45
        Check             04/27/2018                    Barry Callebaut USA LLC                            9,383.45     (5,715.69)
        Bill Pmt -Check   04/27/2018 1052               Scott-Naake Paper Co., Inc.                        4,529.13    (10,901.33)
        Bill Pmt -Check   04/27/2018 1053               Terranova Coffee Roasting Company                    213.57    (11,114.90)
        Check             04/27/2018 1043               Caffe Ettore, Inc.                                30,000.00     34,306.37
        Check             04/27/2018 1039               Cintron, Adam B                                       59.17     29,888.82
        Bill Pmt -Check   04/27/2018 1040               AT&T Mobility                                        149.24     29,739.58
        Deposit           04/27/2018                                                         40,255.91                  63,651.20
        Deposit           04/27/2018                                                           655.17                   64,306.37
        Sales Receipt     04/27/2018 04272018-2         FO DAILY SALES                        1,694.37                  35,619.31
        Sales Receipt     04/27/2018 04272018R          RSVL DAILY SALES                      9,094.94                  (2,019.96)
        Sales Receipt     04/27/2018 04272018R          RSVL DAILY SALES                      2,141.87                    121.91
        Sales Receipt     04/27/2018 04272018FO         FO DAILY SALES                       14,207.16                  14,329.07
        Sales Receipt     04/27/2018 04272018FO         FO DAILY SALES                        1,823.66                  16,152.73
        Check             04/28/2018 1045               Produce Express                                    4,491.80     11,660.93
        Sales Receipt     04/28/2018 04282018FO         FO DAILY SALES                       14,213.97                  25,874.90
        Sales Receipt     04/28/2018 04282018FO         FO DAILY SALES                        3,784.63                  29,659.53



                                                                                                                      Page 3 of 4
Filed  05/14/18
  2:31 PM                                                     Case 18-22152                                                    Doc 115
  05/11/18
  Accrual Basis

                  Type        Date         Num      Adj                  Name                Debit            Credit        Balance
        Sales Receipt       04/28/2018 04282018R          RSVL DAILY SALES                    12,176.12                      41,835.65
        Sales Receipt       04/28/2018 04282018R          RSVL DAILY SALES                     2,621.90                      44,457.55
        Sales Receipt       04/29/2018 04292018R          RSVL DAILY SALES                    10,740.02                      55,197.57
        Sales Receipt       04/29/2018 04292018R          RSVL DAILY SALES                     1,868.81                      57,066.38
        Sales Receipt       04/29/2018 04292018FO         FO DAILY SALES                      11,132.13                      68,198.51
        Sales Receipt       04/29/2018 04292018FO         FO DAILY SALES                       3,445.92                      71,644.43
        Bill Pmt -Check     04/30/2018 ONLINE             FIRST Insurance Funding Corp.                        16,176.95     20,553.98
        Bill Pmt -Check     04/30/2018 ONLINE             FIRST Insurance Funding Corp.                         1,617.85     18,921.13
        Check               04/30/2018 ONLINE             FIRST Insurance Funding Corp.                            15.00     20,538.98
        Check               04/30/2018 ONLINE             FIRST Insurance Funding Corp.                            15.00     18,906.13
        Bill Pmt -Check     04/30/2018 1057               Shasta-Am Linen Sply, Inc.                              580.57     13,314.88
        Bill Pmt -Check     04/30/2018 1054               Reed's Gourmet Meat Co.                               1,267.50     36,730.93
        Check               04/30/2018 1056               Dawn Food Products, Inc.                              4,896.03     13,895.45
        Bill Pmt -Check     04/30/2018 1058               Watanabe Farms                                          168.00     13,146.88
        Bill Pmt -Check     04/30/2018 1059               Del Monte Meat Co., Inc.                              4,678.91      8,467.97
        Check               04/30/2018 1060               Challenge Dairy Products, Inc.                        1,113.26      7,354.71
        Sales Tax Payment   04/30/2018 ACH                State Board of Equalization                          33,646.00     37,998.43
        Check               04/30/2018 1055               Nigel Webb                                              114.65     18,791.48
        Sales Receipt       04/30/2018 04302018FO         FO DAILY SALES                       9,007.84                      16,362.55
        Sales Receipt       04/30/2018 04302018FO         FO DAILY SALES                       1,531.85                      17,894.40
        Sales Receipt       04/30/2018 04302018R          RSVL DAILY SALES                     4,538.87                      22,433.27
        Sales Receipt       04/30/2018 04302018R          RSVL DAILY SALES                     1,716.46                      24,149.73
        Sales Receipt       04/30/2018 04302018-2         FO DAILY SALES                        496.60                       24,646.33
        Deposit             04/30/2018                                                               5.72                    24,652.05
     Total American River Bank - General                                                    545,988.02       521,335.97     24,652.05

  TOTAL                                                                                    545,988.02       521,335.97     24,652.05




                                                                                                                            Page 4 of 4
Filed 05/14/18                                                  Case 18-22152                                                          Doc 115
                      Gold River        (916)967-2265              Jackson        (209) 223-2320                 Access24          (916) 967-2424
                      Bradshaw          (916)368-3400              Buckhorn       (209) 295-2265                                   (800) 609-4047
T0                    Roseville         (916) 786-7905             lone           (209)274-4731
                      Point West        (916)565-6100              Santa Rosa     (707) 528-6300

MEMBER FDIC
              m       Capitol Mall      (916) 441-5150             Healdsburg     (707) 431-8800                 AmericariRiverBank.com



                                                                                               Account Number               180
              1309     CAFFE ETTORE INCORPORATED
                       DEBTOR IN POSSESSION
                                                                                               Statement Date
                                                                                                   Page Number
                                                                                                                    ^R)/l      1
                       DEBTOR IN POSESSION CASE 18-22152                                                 Items                 0
                       1168 NATIONAL DR STE 10
                       SACRAMENTO CA 95834



                                     Streamline Operations with Direct Deposit & Electronic Payments
                                               Eliminate paper checks and speed up payments
                                               with cost-effective and secure ACH Services.
                                             Learn more at AmericanRiverBank.com/ACH- Services

                            BUSINESS BASIC                                      180
                   Previous Balance on     4/10/18                                                         $                 .00
                     2 Deposits and Other Additions (Credits)                                              +                1.90
                     2 Checks and Other Charges      (Debits)                                                               1.90

                  Current Balance on              4/30/18                                                  $                 .00


                                                         Checking Account Transactions

                  4/25/18 DIRECT DEPOSIT          NPC PAYROLL                                                                .95 +
                  4/25/18 DIRECT DEPOSIT          NPC PAYROLL                                                                .95 +
                  4/25/18 AUTOMATIC DEBIT NPC PAYROLL                                                                        .95 -
                  4/25/18 AUTOMATIC DEBIT NPC PAYROLL                                                                        .95

                      Average Collected Balance for Period was                           .00



   iPi




                                                         Giving Business More Reach
